Case 2:07-cv-05715-CAS-PJW Document 735 Filed 02/17/16 Page 1 of 112 Page ID
                                #:16333
 1                      UNITED STATES DISTRICT COURT

 2                     CENTRAL DISTRICT OF CALIFORNIA

 3                              WESTERN DIVISION

 4                                  - - - - -

 5       THE HONORABLE CHRISTINA A. SNYDER, U.S. DISTRICT JUDGE

 6                                  PRESIDING

 7

 8    OSAMA AHMED FAHMY,             )
                                     )
 9              Plaintiff,           )
                                     )
10       vs.                         )             No. CV 07-5715-CAS
                                     )
11                                   )
      JAY-Z AKA SHAWN CARTER, ET AL.,)
12                                   )
                Defendants.          )
13    _______________________________)

14

15

16           REPORTER'S TRANSCRIPT OF DAILY TRIAL PROCEEDINGS

17                         LOS ANGELES, CALIFORNIA

18                       THURSDAY, OCTOBER 15, 2015

19

20                          VOLUME IV A.M. SESSION

21                               PAGES 1 - 89

22    _____________________________________________________________

23                      DEBORAH K. GACKLE, CSR, RPR
                          United States Courthouse
24                   312 North Spring Street, Room 402A
                       Los Angeles, California 90012
25                             (213) 620-1149


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                                                                           2
                                #:16334
 1    APPEARANCES OF COUNSEL:

 2

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10          ON BEHALF OF DEFENDANTS EXCEPT JAY-Z:

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                                                                           3
                                #:16335
 1                              A.M.    I N D E X

 2

 3    DEFENSE   WITNESSES:     DIRECT     CROSS     REDIRECT   RECROSS

 4

 5    ANCLIFF, CHRIS             20         --         --          --

 6

 7

 8

 9                             E X H I B I T S

10    PLAINTIFF'S                                                  RECEIVED

11

12       5                                                           13

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17    DEFENDANTS'                                                  RECEIVED

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19       162                                                              39
         350                                                              41
20       120                                                              47
         351                                                              60
21       352                                                              61
         106                                                              69
22       317                                                              71
         318                                                              73
23       319                                                              74
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24       320                                                              78

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 1    LOS ANGELES, CALIFORNIA; THURSDAY, OCTOBER 15, 2015; 9:40 A.M.

 2                                    -- -- --

 3

 4                 THE CLERK:     Calling item 1, CV 07-5715-SVW, Osama

 5    Ahmed Fahmy v. Jay-Z aka Shawn Carter, et al.

 6                 Counsel, please state your appearances.

 7                 MR. ROSS:     Good morning, Your Honor.     Peter Ross and

 8    Keith Wesley for the plaintiff.

 9                 THE COURT:     Good morning.

10                 MS. LEPERA:     Good morning, Your Honor.     Christine

11    Lepera and David Steinberg, Mitchell, Silberberg and Knupp, on

12    behalf of defendant Shawn Carter.

13                 THE COURT:     Good morning.

14                 MR. BART:     Good morning, Your Honor.     Andrew Bart,

15    and Dan Rozansky, Jenner & Block, counsel for defendant

16    Mr. Carter

17                 THE COURT:     Good morning, everyone.

18                 Okay.   I'm sorry if I -- if we confused you, Mr Ross.

19    I didn't want any sound recordings.         I think Ms. Xiang didn't

20    understand the note I wrote.

21                 MR. ROSS:     That's quite all right.

22                 THE COURT:     Probably because my note was

23    unintelligible, not due to any failing on her part.

24                 Anyway, are we ready to go?     I think you have some

25    exhibits we have to talk about?


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                                                                           5
                                #:16337
 1                MR. ROSS:     Yes, Your Honor.    Mr. Wesley was going to

 2    go over those.

 3                THE COURT:     Okay.    There's an issue with three?

 4                MR. WESLEY:     Your Honor, there's three exhibits that

 5    we have potential issues, I think, on:         First, there was, in

 6    the cross-examination of Dr. Marcus, Exhibit 190, which was his

 7    expert report, was proffered by the defendant.         It was shown to

 8    the jury.    Our understanding is it was moved into evidence, and

 9    when we were checking our respective exhibit lists, the defense

10    didn't have it in evidence, and we did; and I'd just like

11    clarification.

12                THE COURT:     I don't recall that the defense moved it

13    into evidence.    I think they wanted to read a particular page,

14    and my only concern is that the report includes information

15    that I've excluded.

16                MS. LEPERA:     Yes, that is correct, Your Honor.          It

17    was my intent to show one paragraph as a means of impeaching,

18    and it is completely full of materials that are precluded by

19    the in limine ruling.

20                THE COURT:     I think that's the problem.

21                MR. WESLEY:     Okay.

22                We had a different understanding based on the record,

23    but I guess the record is what the record is.

24                THE COURT:     I don't believe they moved it in.       I

25    think they asked him to look at the page, but the record is


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                                                                           6
                                #:16338
 1    what the record is.

 2               MR. WESLEY:     Okay.

 3               And in addition, Exhibit 152 is an exhibit that the

 4    defense did not object to in the pretrial order.           It's a book

 5    by their own expert, their own music licensing expert, and we'd

 6    ask for its admission.

 7               MR. STEINBERG:     Your Honor, if I could address that.

 8               That is a book that was written by Bob Kohn, who was

 9    designated --

10               THE REPORTER:     I'm having trouble hearing you.

11    Please use the podium.

12               MR. STEINBERG:     Sure.     I'm sorry.

13               That is a book written by Bob Kohn, who was

14    designated as one of our experts.         He has not been called, and

15    he will not be called.      The book was just there to help

16    establish that he is, in fact, an expert; and I don't believe

17    it's appropriate to be shown to the jury or marked as -- or

18    offered in as an exhibit.      It's no different than if -- Nimmer

19    on Copyright or encyclopedia.         It's not evidence.

20               MR. WESLEY:     Your Honor, both sides spent hours

21    pouring over the exhibit list as part of the pretrial

22    conference order.     There's a purpose to that.      So we know going

23    into this trial what's admissible and what is not admissible.

24    If the defendants can simply say, Well, now we think this is

25    inadmissible, then what's the purpose of those objections; and


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                                                                           7
                                #:16339
 1    they clearly did not object.      It should be admissible.

 2                THE COURT:    I'm not sure I agree.     Mr. Kohn isn't

 3    going to be testifying.      What possible use can the jury make of

 4    a book that someone wrote who is not testifying?

 5                MR. WESLEY:    This is somebody that the defendants

 6    themselves hired as the expert on music licensing, and he has

 7    statements that are exactly consistent with our theory of the

 8    case.   So the defendants wanted to know what they needed to do

 9    to get a license in Egypt; they had their own expert telling

10    them in his book.     We're only planning on utilizing a couple

11    pages from the book.      If the concern is that the jury will be

12    overwhelmed by a treatise, then we can obviate that very

13    easily, but this is the defense expert who is telling the

14    defendants what they need to do.

15                THE COURT:    Why don't you call the expert?      Reopen

16    and call the expert.

17                MR. WESLEY:    Your Honor, he is a -- he is outside of

18    our subpoena power.

19                THE COURT:    I think the jury is going to be highly

20    confused.    I don't know how the book is authenticated, how it

21    comes into evidence.      I understand that people change their

22    mind.   Obviously, your client changed his mind about coming to

23    the trial; but he can't bring something into evidence, it seems

24    to me --

25                MR. WESLEY:    Well, Your Honor, first of all, I take


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                                #:16340
 1    offense as to the court's characterization that our client

 2    chose not to come to trial; his health prevented him from

 3    coming to trial.

 4                THE COURT:    I understand, but it's the same story

 5    where you had to, based on his health, or for whatever reason,

 6    say he's not coming when they relied on his coming, and you're

 7    in no different shoes with the expert.

 8                MR. WESLEY:    Your Honor, I think we're in completely

 9    different shoes.     We're comparing apples to oranges.       We're

10    comparing somebody whose life could potentially be in danger if

11    he flew over here --

12                MR. STEINBERG:    Your Honor --

13                MR. WESLEY:    -- versus somebody who --

14                MR. STEINBERG:    It's not established, and I don't

15    think it's appropriate to get into that, Your Honor.

16                MR. WESLEY:    -- versus somebody who they -- they

17    submitted as their expert, and we can't call live.          In terms of

18    authentication, Mr. Ross and I read that testimony into

19    evidence.    Mr. Kohn said it's a book that he wrote.        It's a

20    book that's relied upon by judges and practitioners.          It's

21    authenticated.     The only issue is whether or not it's relevant.

22    It's clearly relevant because it's their expert saying that in

23    these countries, like Egypt, you automatically reserve your

24    right to make changes to a work; that's all we're saying.             This

25    is their expert telling them what they need to do.          It's very


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                                #:16341
 1    relevant, goes to the heart of our case.

 2                 MR. STEINBERG:    Your Honor, I think this is one of

 3    those goose and the gander things.       Mr. Wesley had the

 4    opportunity to examine both Mr. Kohn and their own expert,

 5    Mr. Cooper, who they are deciding not to call, about the book.

 6    They decided not to do that.       In fact, on the exhibit list,

 7    plaintiff objected to the book itself.        So it's not relevant,

 8    has nothing it do with this case; the witness is not being

 9    called.

10                 To the extent that he wants to make some argument to

11    Your Honor -- the guy is an authority -- that's fair game, but

12    to make these arguments to the jury or to quote from a book

13    from an expert who is not testifying is inappropriate.

14                 THE COURT:    Well, let's start at the beginning.

15                 It sounds to me like the position taken in the

16    treatise is relevant to the question of contract formation and

17    licensing.     The jury's not handling that; I'm handling that.

18    If you want to cite the book to me, that's fine, but I don't

19    think it goes to the jury.

20                 MR. WESLEY:    When we started this trial, we were

21    under the impression that the jury was handling that issue.

22                 Has that changed?

23                 THE COURT:    You were never under that impression.         I

24    started the trial saying that we may ask the jury advisory

25    questions regarding contract formation, but, I mean, basically


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  1    I'm going to have to decide those issues.

  2               MR. WESLEY:     Okay.

  3               THE COURT:     So it just seems to me that -- not only

  4    will the admission of this book not help the jury, it just will

  5    serve to confuse things; but certainly if you want to bring the

  6    treatises to my attention, fine.         Yep.

  7               MR. ROSS:     Question:     What is the jury deciding?

  8               THE COURT:     That's a big question that I have for

  9    later today on the verdict forms because you have very, very

 10    different views of what the jury should be deciding; and I

 11    think we have to start there before we even get to the jury

 12    instructions.

 13               MR. ROSS:     Okay.

 14               MR. STEINBERG:        Thank you, Your Honor.

 15               MS. LEPERA:     We agree with that.

 16               THE COURT:     And the third exhibit is?

 17               MR. WESLEY:     Okay.

 18               So 152 is out.

 19               THE COURT:     At least at this moment, yes.

 20               MR. WESLEY:     Okay.     There are other exhibits that go

 21    to that issue that are in evidence, but 152 is out?

 22               THE COURT:     Yes.

 23               MR. WESLEY:     Okay.

 24               One more exhibit, Exhibit 5.         That's the sound

 25    recording that the defendants say that they licensed from Arc


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  1    Music.   It's the Hossam Ramzy version of Khosara Khosara that

  2    Timbaland actually sampled.      In the pretrial order, they said

  3    that it's not objectionable, just to the extent that it shows

  4    what they licensed, and so we'd like to move it into evidence

  5    for that purpose.

  6               MS. LEPERA:    Your Honor, may I be heard?

  7               There's actually an exhibit that is not objected to

  8    by either side, that is the liner notes for the CD, which

  9    reflects the Arc copyright ownership; and that serves the

 10    purpose, and it's consistent with the ruling, of having the

 11    liner notes and -- indicating what the source was without the

 12    actual sound recording because if the sound recording goes into

 13    evidence, there's obviously the issue of them playing the sound

 14    recording, which we think is precluded by the rules.

 15               And so it's 364, we would submit, Your Honor, should

 16    be the document that's admitted for the purpose, and that was

 17    our intent in our objections on five.

 18               MR. WESLEY:    Your Honor, yesterday, Timbaland

 19    attempted to show us his contribution to what was sampled, and

 20    so now the jury needs to see what exactly he sampled in order

 21    to compare what Timbaland said he contributed versus what was

 22    taken from Khosara Khosara.

 23               MS. LEPERA:    That's not true, Your Honor.      What

 24    Mr. Mosley did -- first of all, the CD, Big Pimpin, contains

 25    what additional music is in Big Pimpin besides the sample; the


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  1    sample is in there, and what he did was attempt to show his

  2    process of creation generally on the keyboard, not with respect

  3    to what he was contributing additionally to Big Pimpin.

  4                THE COURT:    Well, I think this time the plaintiffs

  5    may have a point.    So I think there has to be some sort of

  6    limiting instruction, but I think they ought to have a right to

  7    present the exhibit.

  8                MS. LEPERA:    And play the sound recording?

  9                THE COURT:    With a limiting instruction as to why

 10    we're playing the sound recording.

 11                MS. LEPERA:    Okay.

 12                MR. WESLEY:    So we'd move Exhibit 5, Your Honor.

 13                MS. LEPERA:    And we object to that, Your Honor.

 14                THE COURT:    I understand.

 15                Five will be received.

 16                MR. WESLEY:    Thank you.

 17                (Plaintiff's Exhibit 5 received in evidence.)

 18                THE COURT:    Are we ready for the jury?

 19                MR. STEINBERG:    Your Honor, one of the -- I don't

 20    know if they --

 21                THE COURT:    I don't know if they've rested, but

 22    assuming they rest --

 23                MR. STEINBERG:    Your Honor, one of the things we'll

 24    be doing is reading from the deposition of David Braun, who is

 25    deceased.    There are some objections on some of the testimony


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  1    that's been designated by both sides.       I don't believe they

  2    designated any objections to ours, but we objected to some of

  3    theirs; and perhaps we should make those rulings -- Your Honor

  4    should make those rulings before we read from the transcript.

  5    We don't anticipate that happening before the first break so

  6    it's up to Your Honor when you want to do that.

  7               THE COURT:    Well, let's start at the beginning.          Tell

  8    me the pages where the objections are.

  9               MR. STEINBERG:    Mr. Hayes will handle that.

 10               THE COURT:    Have you not marked anything with

 11    objections to present to the court?

 12               MR. HAYES:    I'm sorry, Your Honor?

 13               THE COURT:    Have you not marked anything with

 14    objections?

 15               MR. HAYES:    We have designated our -- the portions

 16    we're going to read, they've designated the portions they're

 17    going to read, and we've objected to some of their

 18    designations.

 19               THE COURT:    Well, I don't know how you think I'm

 20    going to just rule on these as we're flying along here.           I

 21    have -- everything has just sort of been handed to me, Here,

 22    hurry up and rule on it.     We're presenting it now.      I can't

 23    live that way.

 24               MR. HAYES:    Our apologies, Your Honor.      We can

 25    certainly get you a full set, and we can postpone Mr. Braun's


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  1    deposition until you're ready.

  2               THE COURT:     Let me tell you what my day is like:       I

  3    have your trial; two hearings at noon; I have the afternoon

  4    trial; and I'm trying to prepare for Monday calendar.         So I'm

  5    not quite sure when you think today I'm going to be doing this.

  6               MR. HAYES:     We could do it live as we go, Your Honor.

  7    Whatever Your Honor would like.

  8               THE COURT:     How many objections are there, and are

  9    they very --

 10               MR. HAYES:     There are less than half a dozen, Your

 11    Honor.

 12               THE COURT:     That I can deal with.    Where are they?

 13    And we'll take them up right now.

 14               MR. HAYES:     We submitted the transcript to the

 15    court --

 16               THE COURT:     I have a transcript, but Ms. Xiang

 17    doesn't think the objections are in it.

 18               THE CLERK:     Give me a page number.

 19               THE COURT:     Give us a page.

 20               MR. HAYES:     First page, Your Honor, 21, lines 14

 21    through 20.

 22               THE COURT:     Okay.   They are here.   My apologies.

 23               I'm going to overrule the objection.       I see nothing

 24    improper about the testimony.

 25               What's next?


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  1               MR. HAYES:    Page 48, line four through eight.

  2               THE COURT:    It is my intent to overrule that also.

  3               MR. HAYES:    May I be heard briefly?

  4               THE COURT:    Yes.

  5               MR. HAYES:    The basis for our objection here is your

  6    ruling denying the request for judicial notice regarding the

  7    Nephal lawsuit; we just want to make sure that this is not used

  8    as a vehicle to reconsider that issue.

  9               THE COURT:    I don't know how it possibly could be a

 10    vehicle to reconsider the issue, but I don't intend to use --

 11    permit it to be used as a vehicle for that purpose.

 12               MR. HAYES:    Very well, Your Honor.

 13               With respect to the second portion, Your Honor, lines

 14    20 through 49, line two, the subject of this testimony is

 15    hearsay; and there's also an inappropriate legal conclusion,

 16    "There wasn't a single person who didn't think it was a steal."

 17               It's hearsay and it's improper opinion.

 18               THE COURT:    Why is that a legal conclusion?      He is

 19    just expressing the state of mind of the people who listen.

 20               MR. HAYES:    I suppose if there's an instruction that

 21    it cannot be considered for the truth of the matter asserted,

 22    it can stay in.

 23               THE COURT:    I think you're micro-managing, and the

 24    jury has enough problems without our giving them more to worry

 25    about.


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  1               Next, page 50.

  2               MR. HAYES:    Here, again, Your Honor, the issue is

  3    hearsay.

  4               Continues on to page 51.      He told him he had a

  5    full-blown agreement that authorized EMI to do what it did.

  6               THE COURT:    I mean, what I take this to be is a

  7    statement by Mr. Braun that he believed that he was lied to

  8    because he was told that he had a full-blown agreement that

  9    authorized EMI to do what it did.       I don't know that that's

 10    hearsay.   That's what he did and why he concluded whatever he

 11    concluded, whether rightly or wrongly.

 12               MR. HAYES:    I take your state-of-mind point, Your

 13    Honor, if that's the court's decision.

 14               THE COURT:    I think that's correct.

 15               Next?

 16               MR. HAYES:    Page 53?

 17               THE COURT:    Yes.

 18               MR. HAYES:    This is actually the same point, Your

 19    Honor.

 20               THE COURT:    Again, I don't think that this is a legal

 21    conclusion, and it's really a statement between the parties.             I

 22    mean, it's a conversation he is reporting.        So I really am

 23    disinclined to sustain these objections.

 24               MR. HAYES:    Next, Your Honor, is page 60.

 25               THE COURT:    Okay.


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                                                                           ID
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  1               MR. HAYES:    Here, specifically lines ten through 11,

  2    "Because he had the hit record, his version was note for note."

  3    Clearly is not qualified to opine on that issue.

  4               THE COURT:    I think that's probably correct.

  5               MR. HAYES:    In addition, Your Honor --

  6               THE COURT:    I think it lacks foundation, and we can't

  7    really tell why he came to that conclusion.

  8               MR. WESLEY:    Your Honor, may I be heard on that?

  9               THE COURT:    Yes, please.

 10               MR. WESLEY:    Your Honor, the foundation is given

 11    earlier in the deposition when he says he listened to both

 12    tracks, and like Your Honor read, he thought it was a steal;

 13    and so he's heard the music.      He goes -- he testifies at length

 14    about his experience as a lawyer in the music industry.          He was

 15    even the head of a music company.       So he has the foundation to

 16    at least opine on what he thinks.

 17               THE COURT:    I have no doubt.    Mr. Braun was a widely

 18    recognized music lawyer, and while it has no impact one way or

 19    the other here, he was my partner at Wyman Bautzer for a time

 20    so I knew him rather well.

 21               So I have no doubt about his talent or anything else,

 22    I just don't know that he is necessarily qualified as an expert

 23    to opine that songs are the very same, although God knows he

 24    listened to many more recordings than I have in my entire life.

 25               MR. WESLEY:    Understood.    Truly, Your Honor, that's


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  1    not our purpose here.      We're just trying to prove why he is out

  2    there investigating this claim.         It's just what he thought.

  3    They're going to say that he was wrong, and they have their

  4    arguments, but I certainly think what he thought was relevant.

  5                THE COURT:    I still think his version was note for

  6    note may be unduly prejudicial and --

  7                MR. WESLEY:    Okay.    I don't see what the -- this

  8    isn't salacious or --

  9                THE COURT:    No, it's not that at all.     It's just that

 10    he is a skilled -- he was a skilled lawyer in terms of

 11    representing artists, and I'm sure he had a much better idea of

 12    listening to music than I what was note for note.         That said,

 13    I'm not sure that he should give the opinion that it was note

 14    for note.    Maybe we can limit it and say, you know --

 15                MR. HAYES:    May I be heard briefly?

 16                THE COURT:    Yes.

 17                MR. HAYES:    We already have the testimony that he

 18    thought it was a steal.      That's sufficient for a state of mind.

 19    The testimony that he opines that it's note for note is not

 20    necessary for that purpose.

 21                THE COURT:    I think that's probably correct.

 22                MR. WESLEY:    Very well.

 23                THE COURT:    What do we have next?     Is that it?

 24                MR. HAYES:    I'll be very brief.

 25                THE COURT:    Please.


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  1                MR. HAYES:     I'm going to skip ahead, Your Honor, to

  2    page 115.

  3                THE COURT:     Okay.

  4                MR. HAYES:     This is a long passage from Mr. Braun in

  5    which he says at the beginning he has a vague recollection but

  6    not enough to testify on it.          He proceeds to read from his

  7    declaration towards the end of this passage.             This is all

  8    hearsay, Your Honor, in addition to being unreliable based on

  9    his own testimony.

 10                MR. WESLEY:     We'll withdraw this.

 11                THE COURT:     Okay.     Thank you.

 12                MR. HAYES:     That's all, Your Honor.

 13                THE COURT:     Okay.     Thank you.

 14                THE CLERK:     Are we ready for the jury?

 15                MR. WESLEY:     Ready.

 16                      (Open Court - Jury Present)

 17                THE COURT:     Mr. Ross.

 18                MR. ROSS:     Yes.     Plaintiff rests.

 19                THE COURT:     Okay.

 20                Let's go to the defendants.           Mr. Steinberg.

 21                MR. STEINBERG:       Thank you, Your Honor.

 22                Good morning, ladies and gentlemen of the jury.

 23                Defendant calls Chris Ancliff.

 24                THE CLERK:     Mr. Ancliff, you can come around.

 25                (Witness sworn.)


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  1                   THE WITNESS:     I do.

  2                   THE CLERK:     Thank you.

  3                   Please state your full name and spell your last name

  4    for the record.

  5                   THE WITNESS:     My name is Chris Ancliff.    My surname

  6    is spelled A-n-c-l-i-f-f.

  7          CHRIS ANCLIFF; DEFENDANTS' WITNESS, SWORN, TESTIFIED:

  8                                DIRECT EXAMINATION

  9    BY MR. STEINBERG:

 10    Q.     Good morning, Mr. Ancliff.

 11                   Are you currently employed?

 12    A.     I am.

 13    Q.     What is your current occupation?

 14    A.     I am the general counsel for Warner Music International.

 15    Q.     Where are you stationed?

 16    A.     London.

 17    Q.     Is that where you live?

 18    A.     I do.

 19    Q.     Can you please briefly describe for the jury your

 20    education.

 21    A.     I went to school and university in England.          I went to law

 22    school in England just outside London.           After law school I was

 23    an attorney in a large London law firm, Linklaters.            I

 24    qualified as an attorney under English law.           From there I moved

 25    out of the law firm into the music business.


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  1    Q.     What is your current position?

  2    A.     My current position is that I'm head of legal.       I look

  3    after all the legal matters for Warner Music International.          So

  4    that means all of Warner's business outside of the United

  5    States.

  6    Q.     And if you can, can you please describe your work history

  7    from graduation of law school up until your present occupation

  8    with Warner Music International.

  9    A.     I mentioned when I graduated.     I finished law school; I

 10    joined a large law firm, Linklaterss; I was there for four

 11    years working as an attorney; I then left there and went

 12    in-house into a music company, which was at that time called

 13    PolyGram, today it's known as Universal.

 14    Q.     What did you do there?

 15    A.     I was in-house counsel.    I was working on record

 16    contracts, artists agreements, distribution agreements, license

 17    agreements.

 18    Q.     Negotiate them?

 19    A.     Negotiating them, drafting them.

 20    Q.     Where did you go after PolyGram?

 21    A.     I then joined EMI, where I worked for 11 years in a number

 22    of positions, culminating in the role of general counsel of the

 23    EMI Group, Worldwide Group.      I then left EMI in 2009 to take up

 24    my current position at Warner Music.

 25    Q.     So from 1998 to 2009, you were working for EMI?


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  1    A.     That's right.

  2    Q.     During part of that time, do you -- did you have an

  3    involvement with EMI Music Arabia?

  4    A.     I did.   Around the first four yours that I worked for EMI

  5    until about 2002, one of my roles was to look after the legal

  6    matters for EMI Music Arabia.

  7    Q.     And when you worked for EMI Music Arabia, where were you

  8    based?

  9    A.     I was based in London.

 10    Q.     And where was EMI Music Arabia based?

 11    A.     They are based in Dubai.

 12    Q.     And did you travel back and forth?

 13    A.     I did, frequently.

 14    Q.     Where else did you travel in connection with that job?

 15    A.     All over the world, but specifically the Middle East.         I

 16    was in Dubai; in Kuwait; in Egypt in Cairo; in Beirut in

 17    Lebanon.     So a number of countries in the Middle East.

 18    Q.     And during that time period, approximately how often would

 19    you find yourself in Dubai or Cairo?

 20    A.     During that period, probably four or five times a year.

 21    Q.     What did you do when you were there?

 22    A.     A number of things:     We were -- at that time EMI was

 23    acquiring businesses.       So we were acquiring companies.     We

 24    bought a company -- two companies, one in the Lebanon, one in

 25    Egypt.     We were acquiring rights; we were buying catalogs; we


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  1    were licensing in catalogs of Arabic music in that region; we

  2    were discussing issues of piracy with some of our competitor

  3    companies.     We had antipiracy meetings there.

  4    Q.     I think you just touched on it.

  5                 What did EMI Music Arabia do?

  6    A.     EMI Music Arabia was a -- recorded music and a publishing

  7    company.

  8                 THE REPORTER:    Pardon me?

  9                 THE WITNESS:    It recorded music and a publishing

 10    company.     Responsible for a number of things:     In particular,

 11    for acquiring rights, sound recording rights and publishing

 12    rights, to Arabic music for exploitation of Arabic music in the

 13    region and beyond.     It was also responsible for marketing and

 14    promoting international music:       some American music; British

 15    music; French music, in that part of the world.         It was a

 16    marketing business.

 17    Q.     And during your time as counsel for EMI Music Arabia from

 18    the 1998 to 2000 time period, what was your particular role?

 19    A.     I was acting as in-house counsel so I was involved in the

 20    negotiation of agreements to acquire rights, to license those

 21    rights, exploit those rights -- I'm sorry -- negotiate

 22    agreements.     I would draft those agreements.     I was involved in

 23    working sometimes with authorities, local authorities, on

 24    issues of piracy.     It was ver broad.    I was involved in

 25    acquiring whole businesses, buying businesses, negotiating with


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  1    the owners of those businesses to buy their business.

  2    Q.      Would it be fair to say that during that time period, if

  3    there were negotiations or contracts that were drafted, they

  4    went through your office?

  5    A.      They did, yes.

  6    Q.      What kind of rights did the EMI Music Arabia deal with?

  7    A.      Multiple rights but predominantly it was dealing with

  8    rights in the sound recordings and also rights in the

  9    underlying compositions.      In other words, the written work, the

 10    compositions in those sound recordings.       That's the predominant

 11    thrust of what the business was about.

 12    Q.      Can you describe the difference between a sound recording

 13    and a musical composition, please.

 14    A.      Sure.   A sound recording is something you can hear.      You

 15    hear it on the radio; you hear it in a bar.        It's the music you

 16    hear.     A composition is the culmination of the notes on the

 17    page and the lyrics.      The -- so the words and the music.      It's

 18    quite different from -- they are performed or created by

 19    different people.

 20    Q.      Were you familiar with music companies at or around the

 21    time you were working for EMI Music Arabia generally?

 22    A.      Yes, I was.

 23    Q.      Were there separate music publishing companies in -- at

 24    that time?

 25    A.      There were companies that just looked after the publishing


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  1    elements of the business; they were publishing companies, and

  2    there were some companies that just had recording rights.

  3    Q.     Were there companies that had both?

  4    A.     Companies had both.   EMI generally had both; EMI Music

  5    Arabia had both.

  6    Q.     And as part of your responsibilities working with EMI

  7    Music Arabia, were you familiar with how the business records

  8    and the books were kept for the company?

  9    A.     Yes, I was.

 10    Q.     How were you familiar with those books and records?

 11    A.     So far as the legal books and records were concerned, I

 12    kept those; they lived in my office.       In those days, records

 13    were still largely paper, although the Internet and PCs

 14    existed, but sending faxes; they were paper records; they sat

 15    in paper files; they sat in filing cabinets in my office.

 16    Q.     Did you retrieve documents from those business records?

 17    A.     All the time.

 18    Q.     Did you send documents to those business records?

 19    A.     All the time.

 20    Q.     Were copies also keep the EMI Music Arabia offices?

 21    A.     Most of the legal agreements, yes, had copies in the

 22    Middle East.

 23    Q.     What kind of documents were in those business records?

 24    A.     There would be license agreements; agreements where we as

 25    the business were acquiring the rights from third parties that


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  1    created those rights; and also agreements for us to license

  2    those rights out to other parties so that they could exploit

  3    that music.

  4    Q.     Was there correspondence in those files?

  5    A.     Correspondence, absolutely.

  6    Q.     Royalty statements?

  7                THE REPORTER:     Excuse me?

  8                THE WITNESS:     Excuse me?

  9    BY MR. STEINBERG:

 10    Q.     Royalty statements?

 11    A.     There would have been royalty statements, yes.

 12    Q.     Payment documents?

 13    A.     There would have been payment documents in Dubai.

 14    Probably would not have had payment of London.        I can't recall.

 15    May have been but that wasn't primarily my role.         Certainly

 16    Dubai.

 17    Q.     And you described a little bit about how EMI Music Arabia

 18    goes about its business.

 19                How did they -- the EMI Music Arabia exploit the

 20    sound recording and publishing rights that it acquired?

 21    A.     In a number of ways:     In those days predominantly the way

 22    we exploited music is to sell CDs -- CD is the predominant

 23    sound carrier -- and cassettes.       Music cassettes at that time

 24    were still very big in the Middle East.       So we would

 25    manufacture and sell CDs and cassettes.       We would make our


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  1    music available to radio stations, to TV, do broadcasts, and we

  2    would get paid for that.       We would make the music available,

  3    both the sound recording and the publishing rights available to

  4    film companies that wanted to use it in their movies, to

  5    advertising companies that wanted to use it in a TV commercial,

  6    to a games company.       They might want to use a piece of music in

  7    a PlayStation game.       There's a whole variety of ways.

  8    Q.     And that was in connection with both sound recordings and

  9    music publishing --

 10    A.     Absolutely, yes.

 11    Q.     And are you familiar with the term "sample"?

 12    A.     Yes.

 13    Q.     What is your understanding of a sample?

 14    A.     A sample is a fairly well-known term in the music business

 15    where you take an extract of a piece of work, the sound

 16    recording or the music publishing rights, underlying written

 17    work, or sometimes both, and you incorporate that snippet, that

 18    piece of music, into another work; you sample it into another

 19    work; you combine it with another work.

 20    Q.     Were you aware of instances where EMI Music Arabia issued

 21    sample licenses for the music publishing and sound recording

 22    rights it acquired?

 23    A.     Absolutely.   It was a part of our business.

 24    Q.     Are you familiar with the concept of exclusive rights?

 25    A.     Yes.


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  1    Q.     What about nonexclusive rights?

  2    A.     Both.

  3    Q.     And exclusive licenses?

  4    A.     Yes.

  5    Q.     And nonexclusive license?

  6                   Can you please explain what the difference is between

  7    exclusive and nonexclusive.

  8    A.     Exclusive and nonexclusive means -- if we have an

  9    exclusive right, then only we could exercise it; nobody else in

 10    the world could exercise that right unless the territory was

 11    defined differently in the world, but it meant we had the right

 12    to exploit that particular music or that sound recording, that

 13    underlying composition.       Nobody else could.   Nonexclusive meant

 14    we had the rights but other people had the rights as well.

 15    Q.     You mentioned before the various kind of agreements that

 16    you were the involved in licensing for television, movies,

 17    video games, sampling.

 18                   Were there different types of durations that were

 19    involved in these different kind of licenses?

 20    A.     The duration of the sample, you mean?

 21    Q.     Samples or any of the licenses.

 22    A.     Yes, absolutely.     Sometimes a sample could be of a few

 23    seconds of a piece of music looped over and over again.          It

 24    could be three seconds; it could be the whole -- almost the

 25    whole song.


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  1    Q.     I apologize.    When I was talking about durations, I meant

  2    the lengths of the agreements.

  3    A.     I'm sorry.

  4    Q.     Were there different durations of the agreements that you

  5    were involved in?

  6    A.     Yes, absolutely.     Sometimes they could be short

  7    agreements; the could last for a year or two.        Sometimes they

  8    could last for the entire length of copyright, which is, in

  9    most countries, 70 to 90 years.

 10    Q.     Are you familiar with the concept of perpetual rights?

 11    A.     Yes.

 12    Q.     What is a perpetual right?

 13    A.     That's your right -- it means the right goes on forever or

 14    at least until that particular work, that particular piece of

 15    music, enters the public domain for the life of the

 16    copyright --

 17    Q.     Are you familiar with the term "buy-out"?

 18    A.     Yes.

 19    Q.     What is a buy-out?

 20    A.     A buy-out is when you acquire the rights for a one-off

 21    fee, a one-off payment, without any obligation to make future

 22    payments.

 23    Q.     Shift topics on you a little bit, Mr. Ancliff.

 24                  Are you familiar with the entity that was known as

 25    Soutelphan?


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  1    A.     Yes.

  2    Q.     From your time working with the EMI Music Arabia, can you

  3    please describe what Soutelphan was.

  4    A.     Soutelphan was an Egyptian company.      It was an old

  5    business, founded many years ago -- I don't know exactly

  6    when -- in Egypt.     It acquired rights to Egyptian -- Arabic

  7    music -- predominantly, I think, from Egypt, but it was a

  8    rights-acquiring and exploiting business.

  9    Q.     Was it a reputable company?

 10    A.     Reputable?

 11    Q.     Reputable?

 12    A.     We believed it was, yes.

 13    Q.     A long history?

 14    A.     A long history.   I don't recall how long.     Yes.

 15    Q.     Did it own music catalogs?

 16    A.     Music catalogs; it owned a lot of film catalogs.         In other

 17    words, music sound tracks, music taken from movies.

 18    Q.     Did it own sound recordings?

 19    A.     Yes, it did.

 20    Q.     Music compositions?

 21    A.     Yes, it did.

 22    Q.     Do you remember who ran Soutelphan at or around the time

 23    you were involved?

 24    A.     He was called Magdi el-Amroussi, I believe.

 25    Q.     And is Mr. Amroussi with us still?


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  1    A.     I believe he died awhile ago.

  2    Q.     Do you know if Soutelphan exists today?

  3    A.     I don't know if it exists today; it's been some time since

  4    I had dealings with it.

  5    Q.     Do you know if there's been any other entities that have

  6    acquired the catalogs of Soutelphan?

  7                   MR. ROSS:    No foundation.   Calls for hearsay.

  8                   THE COURT:    Sustained.

  9    BY MR. STEINBERG:

 10    Q.     Are you aware of the company known as Alam El Phan?

 11    A.     I am.

 12    Q.     What is Alam El Phan?

 13    A.     Alam El Phan is another music company, again, based in

 14    Cairo, in Egypt, and not, I believe, as old as Soutelphan.          I

 15    think it's a more recently-established business, but again a

 16    business that acquires copyrights and and sound recordings and

 17    musical compositions.

 18    Q.     Were you involved in any relationship between EMI Music

 19    Arabia and Soutelphan during the time you were working there?

 20    A.     Yes, yes, I was.

 21    Q.     Can you please describe your relationship between EMI

 22    Music Arabia and Soutelphan during the -- let's call it -- the

 23    1998 to 2002 time period.

 24    A.     Yes.     When I joined the company, EMI Music Arabia had

 25    already entered into an agreement previously with Soutelphan in


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  1    1995, which, was a license agreement to acquire certain rights

  2    in certain catalogs from Soutelphan.          That was already in the

  3    files that I inherited when I joined the company in 1998.

  4    Q.     When you started in 1998, you were given the files?

  5    A.     Yes, I was, yes.

  6    Q.     Who gave you the files?

  7    A.     My predecessor.     He was still within the company; he moved

  8    to another role within the EMI.

  9    Q.     And you had physical possession of the actual files?

 10    A.     I have possession of his entire office, yes.        I moved into

 11    his seat in the office.

 12    Q.     And did you have occasion to look through those files?

 13    A.     Many occasions, yes.

 14                MR. STEINBERG:     I'd like to pull up, Your Honor,

 15    Exhibit 207, which I believe was offered into evidence.          I want

 16    to confirm that with the clerk, and I believe it was accepted.

 17                THE CLERK:     207 is admitted.

 18                MR. STEINBERG:     Can we pull that up.

 19                Thank you very much.

 20    Q.     Mr. Ancliff, are you familiar with this document?

 21    A.     Yes, I am.

 22    Q.     Is this the document that you just referenced as having

 23    been in the file that you had acquired from your predecessor?

 24    A.     That's right.     It was.

 25    Q.     Was this part of EMI's records that you got?


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  1    A.     Yes.

  2    Q.     If you turn to the last page -- I should say, since it's

  3    not the last page of the actual document -- page No. -13 -- oh,

  4    I'm sorry.       You have to get the binder.

  5    A.     I do.     Sorry.

  6    Q.     This would be Exhibit 207.     If you turn to 207-13.

  7                   Do you recognize that scrawling signature at the

  8    bottom?

  9    A.     For EMI Music Arabia, I recognize it very well.       I've seen

 10    it many times.

 11    Q.     Who is that?

 12    A.     That's Fredrick Giaccada.

 13    Q.     Who was Mr. Giaccada?

 14    A.     He was managing director of EMI Music Arabia; he ran that

 15    business.

 16    Q.     Did you work closely with him?

 17    A.     I did.

 18    Q.     Talk with him frequently?

 19    A.     Almost every day at that point, yes.

 20    Q.     And when there were documents that needed -- or

 21    agreements that needed to be negotiated, did you negotiate

 22    those agreements?

 23    A.     I did.     I did not negotiate this one, but I negotiated

 24    others for Mr. Giaccado.

 25    Q.     And the reason you didn't negotiate this one is because it


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  1    was done three years before you got there.

  2    A.     Right.

  3    Q.     Thank you.

  4                  Is there a governing law of this agreement?     Could

  5    you look to the top of this page.

  6    A.     Yes.

  7    Q.     What is that law?

  8    A.     It's the Laws of England.

  9    Q.     Is that customary for the agreements that EMI Music Arabia

 10    signed to have the Laws of England?

 11    A.     It is.     When possible, we used English law, yes.

 12    Q.     I'd like you to turn to page -4, please.      This is 207-4 at

 13    the bottom.

 14                  Can you please identify the territory that this

 15    agreement covered.

 16    A.     The territory was the world, excluding Egypt.

 17    Q.     Was that common to have territories everywhere except

 18    Egypt?

 19    A.     It was not uncommon.     Sometimes we would acquire whatever

 20    we could.       We would try and acquire worldwide rights.    In some

 21    cases we couldn't because the original owner of those

 22    recordings wanted to hold back the home territory.         That's what

 23    happened in this case, I believe.

 24    Q.     Let me back up a little bit and ask you some general

 25    questions.


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  1                   What was this agreement?    What did it accomplish?

  2    A.      This was a license agreement.      It gave EMI Music Arabia

  3    the rights and sound recordings and the underlying compositions

  4    to a catalog, a very large catalog, of predominantly Egyptian

  5    music.

  6                   MR. ROSS:    I'm going to move to strike the latter

  7    part of the answer in that the document speaks for itself, and

  8    in my view, his testimony is actually contrary to the

  9    documents, best evidence rule.

 10                   THE COURT:    The problem I'm having is I don't know

 11    precisely what language you're seeking to strike.

 12    Predominantly --

 13                   MR. ROSS:    It's a license agreement.   I agree with

 14    that, but everything following that is -- I think this is

 15    interpreting the document, and it's not, in my view, what it

 16    says.

 17                   THE COURT:    Well, the document speaks for itself, and

 18    to the extent that the witness's testimony is contrary to the

 19    document, then obviously I'm going to rely on the document.

 20                   MR. ROSS:    Thank you.

 21    BY MR. STEINBERG:

 22    Q.      Mr. Ancliff, you mentioned that the document provides for

 23    the transfer or the licensing of publishing rights.

 24                   On what do you base that?

 25    A.      Yes.    It's very specifically set out in clause two.     There


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  1    is very specific language granting publishing rights, exclusive

  2    publishing rights.

  3                   MR. STEINBERG:   Why don't we pull that up for the

  4    jury.     Can you pull up, please, paragraph 2(A)(viii) -- little

  5    numeral eight -- on page 207-6.

  6                   Could you please read that to the jury.

  7    A.      "The sole and exclusive rights to protect, publish, and/or

  8    subpublish songs contained on records from the catalog in the

  9    territory."

 10    Q.      What does "publish, and/or subpublish songs" mean?

 11    A.      Means to exploit the underlying compositions in a song.

 12    Q.      Can you publish a sound recording or a record?

 13    A.      No.    Publishing is -- the business of publishing, music

 14    publishing, is about exploitation of compositions.

 15    Q.      And did EMI Music Arabia exploit musical compositions from

 16    the catalog transferred under this license?

 17    A.      Yes.    Yes, it did.

 18    Q.      And did Soutelphan ever take any position that EMI Music

 19    Arabia did not have the rights to the underlying compositions?

 20    A.      Not to my recollection, no.

 21    Q.      What catalog, if you know, was included in this license?

 22    A.      It was a very broad catalog.     I think it was an exhibit

 23    set out at the back of the agreement which listed a number of

 24    albums, which I think were predominantly movie sound track

 25    albums.


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  1    Q.     So let's take a look at the schedule two, which is -13 --

  2    excuse me -- -15 of the exhibit.

  3                   Is this the list you were referring to?

  4    A.     It is, yes.

  5    Q.     Okay.

  6                   And now let's take a look, please, at Exhibit 207-4,

  7    again.

  8                   What was the term of this agreement?

  9    A.     The term of the agreement was for a period of time

 10    commencing on the date of the agreement, which was in 1995, and

 11    lasting for ten years and six months.

 12    Q.     Now, let's turn to page 11, please, 9(b).

 13                   THE CLERK:     I'm sorry.   Counsel, 9(b)?

 14                   MR. STEINBERG:     Yes, which is on page 207-11.

 15                   THE WITNESS:     Uh-huh.

 16    BY MR. STEINBERG:

 17    Q.     And could you please read this paragraph.

 18    A.     It says, "EMI shall have the right to review this

 19    agreement on identical terms and financial conditions;

 20    otherwise, the parties undertake to enter into good-faith

 21    negotiations to renew this agreement at the expiry of the term

 22    and shall commence discussions on the 1st of January 2005.          To

 23    the extent that agreement cannot be reached, the licensor may

 24    enter into negotiations with other parties, but EMI shall have

 25    the right to match any bona fide offer received from such third


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  1    parties."

  2    Q.     Thank you.

  3                If we could put that document away for the moment.

  4                Mr. Ancliff --

  5                I'd like to show the witness, Your Honor,

  6    Exhibit 162.

  7                THE COURT:   Okay.

  8    BY MR. STEINBERG:

  9    Q.     Exhibit 162, Mr. Ancliff, was this one of the documents

 10    that was in the files that you had acquired from your

 11    predecessor?

 12    A.     Yes, it was.

 13    Q.     Have you seen this document before?

 14    A.     I have.

 15    Q.     What is this document?

 16    A.     It's a letter written by Fredrick Giaccado -- talked about

 17    earlier -- to Magdi el-Amroussi.

 18    Q.     If you look at the second page of this letter,

 19    Mr. Ancliff, do you recognize those two signatures?

 20    A.     I do, yes.

 21    Q.     Who are they?

 22    A.     One is, again, Fredrick Giaccado, and the other one is the

 23    signature of Magdi el-Amroussi.

 24                MR. STEINBERG:   I'd like to move this into evidence,

 25    Your Honor.


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                                                                           ID
                                 #:16371
  1                MR. ROSS:    No objection.

  2                THE COURT:    It will be received.

  3                (Defense Exhibit 162 received in evidence.)

  4    BY MR. STEINBERG:

  5    Q.     If you can, Mr. Ancliff, tell us what this document does.

  6    A.     This was a letter agreement to extend the term of the

  7    original agreement by further year.

  8    Q.     So this is a one-year extension?

  9    A.     Yes, of the original deal.

 10    Q.     That would take it from ten-and-a half years down to

 11    11-and-a-half years; is that right?

 12    A.     That's right.

 13    Q.     Bring you sometime in the middle of June of 2007; is that

 14    right?

 15    A.     Yes, that's right, June 2007.

 16    Q.     Thank you.

 17                As far as you know, Mr. Ancliff, has Soutelphan or

 18    any of its successor entities ever taken the position that that

 19    relationship has ended?

 20    A.     Not as far is I'm aware, no.

 21    Q.     Mr. Ancliff, did EMI Music Arabia ever exploit the musical

 22    composition Khosara Khosara while you were manning the helm?

 23    A.     Yes it did.

 24    Q.     I'd like you to look at Exhibit 350, please.

 25                Show the witness Exhibit 350.


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                                                                           ID
                                 #:16372
  1    A.     350?

  2    Q.     350, please.

  3                  350 is a picture of a CD with some inside notes.

  4                  Have you seen this before?

  5    A.     Yes, I have.

  6    Q.     Did you see this at or around the time that you were

  7    working for EMI Music Arabia?

  8    A.     Yes.

  9    Q.     And was this CD, at least the cover notes and the album,

 10    was that part of the records that you had obtained?

 11    A.     Yes, it was.

 12                  MR. STEINBERG:    I'd like to move this into evidence,

 13    Your Honor, just the notes without the content.

 14                  THE COURT:    Any objection?

 15                  MR. ROSS:    No objection.

 16                  THE COURT:    It will be received.

 17                  (Defense Exhibit 350 received in evidence.)

 18    BY MR. STEINBERG:

 19    Q.     Mr. Ancliff, can you identify this for us.

 20    A.     The CD cover, you mean?

 21    Q.     Yes.

 22                  What is this?

 23    A.     This is a photocopy of the CD, the front and the back of

 24    the CD.

 25    Q.     And is Khosara Khosara listed as one of the tracks on this


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  1    CD?

  2    A.      It is.    It's listed as track No. 7.

  3    Q.      Look at No. 7, please.

  4                   If you look at the last page of this exhibit, the

  5    third of the three frames, Mr. Ancliff, there's some credits at

  6    the bottom.

  7                   What does "p circle 1997, 1998 Soutelphan Cairo"

  8    mean?

  9    A.      The "p circle" indicates who the copyright owner is; he

 10    has the rights to exploit that sound recording.

 11    Q.      That's for a sound recording?

 12    A.      That's right.    That's for the sound recording.

 13    Q.      And it says "p circle 1998 EMI Music Arabia FZE," correct?

 14    A.      That's right.

 15    Q.      Is that also for the sound recording?

 16    A.      Exclusively for sound recording.

 17    Q.      And there's a parenthetical at the top.     It says,

 18    "Publisher:       EMI Music Arabia."

 19    A.      That's right.

 20    Q.      Do you see that?

 21    A.      Yes.

 22    Q.      What does that mean?

 23    A.      That means the EMI Music Arabia was the publisher of the

 24    compositions in those works, in those songs.

 25    Q.      So on this CD that contained Khosara Khosara, EMI Music


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                                                                           ID
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  1    Arabia is identified as the publisher of the composition as

  2    well as the --

  3    A.     Owner of the sound.

  4    Q.     -- owner of the sound recordings.     Thank you.

  5                   I'd like to talk to you a little bit about the Big

  6    Pimpin claim.

  7                   Did there come a time, Mr. Ancliff, that you learned

  8    of a possible use of Khosara Khosara in the recording Big

  9    Pimpin?

 10    A.     Yes.

 11    Q.     And when did you first learn of that possible claim?

 12    A.     Sometime in the year 2000.     I forget exactly when, but it

 13    was in --

 14    Q.     Can you describe the circumstances of how you first found

 15    out about this possible claim.

 16    A.     I got a call from somebody in Dubai.      I don't remember

 17    who, but somebody rang me and said, Hey, have you heard this

 18    Jay-Z song?       It's using one of our songs.

 19    Q.     Okay.

 20                   And can you please tell us what generally -- and then

 21    we'll get into some more specifics -- what did EMI Music Arabia

 22    do with that information?

 23    A.     Well, they brought it to my attention because I was,

 24    effectively, their lawyer; I was representing their legal

 25    interests.       So they asked me if I would investigate it and


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  1    asked me what we could do about it.       Somebody was infringing

  2    our exclusive rights.

  3    Q.     At the time you first learned of the possible claim, did

  4    you know whether the sound recording or the musical composition

  5    was the issue?

  6    A.     I didn't when they first brought it to my attention, no.

  7    Q.     What did you -- did you do anything to make that

  8    determination?

  9    A.     I asked them to send me a CD of the original sound

 10    recording, which they did, and I went out and bought a copy of

 11    the Jay-Z CD.     I went up to the store and bought it, and I

 12    listened to the two recordings one after the other.

 13    Q.     Did you make any determination as to whether the sound

 14    recording that EMI Music Arabia owned was the sound recording

 15    that was utilized in Big Pimpin was a sample?

 16    A.     I didn't initially.    I listened to them one after the

 17    sounded.    They sounded the same to me; they sounded alike, but

 18    I'm not a musicologist; I'm not an expert in music, but they

 19    sounded pretty similar.      So I thought this is a case --

 20    Q.     And you were comparing sound recordings?

 21    A.     Just for the sound recordings, yeah.

 22    Q.     Did EMI Music Arabia hire any kind of counsel in the

 23    United States to pursue this?

 24    A.     We did, yes.

 25    Q.     And did you review the files that you had to see if there


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  1    were any issues you needed to know about?

  2    A.     I did, yes.    We needed to know that we had the rights --

  3    Q.     Did you have discussions with Soutelphan about the Big

  4    Pimpin claim?

  5    A.     We did.    We brought it to their attention.

  6    Q.     And how did the Big Pimpin claim ultimately end up?        What

  7    happened?

  8    A.     We served a notice, I think, on either Universal to

  9    Jay-Z -- was signed as an artist -- or to Timbaland, who is a

 10    producer -- I forget who we wrote to first -- telling them we

 11    thought they were infringing our rights.

 12    Q.     And did it ultimately get resolved?

 13    A.     Yes.

 14    Q.     We'll come back to that.

 15                  In connection with you looking through your files and

 16    communicating with Soutelphan, did you exchange correspondence

 17    with Soutelphan and people who were acting on behalf of

 18    Soutelphan?

 19    A.     Yes, we did.

 20                  MR. STEINBERG:      I'd like to show the Exhibit 120 to

 21    the witness, please, Your Honor.

 22                  THE COURT:   Yes.

 23    BY MR. STEINBERG:

 24    Q.     Mr. Ancliff, as part of your investigation into the Big

 25    Pimpin claim, was this document sent to you?


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  1    A.     It was, yes.

  2    Q.     And if you look at the top fax information, which is a

  3    little rare to see these days -- fax information --

  4    A.     Yes.

  5    Q.      -- what is the date of this particular fax?

  6    A.     The 14th of September 2000.

  7    Q.     Is that about the time you were investigating the claim?

  8    A.     Yes.

  9    Q.     And was this a document that was kept in the ordinary

 10    course of the business by EMI Music Arabia?

 11    A.     Yes.    It was one of our business records.

 12                  MR. STEINBERG:       I'd like to move it into evidence,

 13    Your Honor.

 14                  MR. ROSS:    One moment, please, Your Honor.

 15                  THE COURT:    Yes.

 16                  MR. ROSS:    Your Honor, I note for the record this

 17    seems to be an incomplete document.           It says at the top it's

 18    page two of two.      There's no indication of -- on it where it

 19    came from.

 20                  MR. STEINBERG:       May I, Your Honor?

 21                  MR. ROSS:    I would object on foundation.

 22                  THE COURT:    Okay.

 23    BY MR. STEINBERG:

 24    Q.     Mr. Ancliff, do you recognize the person who sent you this

 25    document?


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  1    A.     Yes.    It's -- again, it's Magdi el-Amroussi.

  2    Q.     And where was Magdi el-Amroussi at the time?

  3    A.     He was in Cairo.

  4    Q.     Was he with Soutelphan?

  5    A.     Yes.

  6    Q.     You had common dealings with Mr. Amroussi?

  7    A.     Yes.

  8    Q.     And is it routine that you received faxes and sent faxes

  9    to Mr. Amroussi?

 10    A.     Yes.

 11    Q.     And this is one of those faxes?

 12    A.     Yes.

 13                  MR. STEINBERG:    I'd like to move into evidence, Your

 14    Honor.

 15                  MR. ROSS:    Same objections.

 16                  THE COURT:    Well, is your objection it's not a

 17    complete document?

 18                  MR. ROSS:    It is, and there's no indication of it

 19    being received by anybody or where it really came from.

 20                  THE COURT:    But the problem is the witness says he

 21    received it.      So I think it's going to be received.

 22                  (Defense Exhibit 120 received in evidence.)

 23    BY MR. STEINBERG:

 24    Q.     Mr. Ancliff, did you ask Mr. Amroussi to send you this?

 25    A.     I don't recall if I had asked him to send it to us --


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                                                                           ID
                                 #:16379
  1    Q.     Somebody at EMI Music Arabia asked him --

  2    A.     Yes --

  3    Q.     A copy came across your desk?

  4    A.     Yes.

  5    Q.     And what is it?

  6    A.     It's a confirmation from Soutelphan that EMI Music Arabia

  7    had sole and exclusive publishing rights in the catalog of

  8    music that we had licensed from Soutelphan.

  9    Q.     Does it have any of the language that we previously saw in

 10    Exhibit 207?

 11    A.     I think it's identical language from memory.       Looks the

 12    same as the language in the original license agreement.

 13    Q.     And the language that you're referring to is that "EMI

 14    Music Arabia has a sole and exclusive right to exploit, to

 15    protect, to publish and/or subpublish songs contained in the

 16    records," right?

 17    A.     Yes.

 18    Q.     What does "subpublish" mean?

 19    A.     Subpublish means if you wanted to use a publisher which

 20    was not an EMI company in a particular market, we could operate

 21    through a subpublisher.     So in some markets -- EMI did not have

 22    a publishing business.     So we would find a publisher in those

 23    local markets that could help us publish the recordings in

 24    those markets.     So that's called subpublishing.      We were the

 25    main publisher, and you would use a subpublisher.         So somebody


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                                                                           ID
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  1    not connected with EMI Music Arabia.

  2    Q.     So, in essence, it allows someone who has rights to

  3    further convey those rights to someone else?

  4    A.     Correct, correct.

  5    Q.     Is Khosara Khosara specifically identified in Exhibit 120?

  6    A.     No, it's not.

  7    Q.     Is that something you wanted to see in writing to make

  8    sure that Khosara Khosara was specifically included in the

  9    catalog?

 10    A.     Yes, we needed to know that.

 11    Q.     Let's take a look at Mr.     -- at 293.

 12                I believe 293 is in evidence already, Your Honor.

 13                THE COURT:     Okay.

 14    BY MR. STEINBERG:

 15    Q.     Mr. Ancliff, it has a bold black box, "FZE."

 16                What does FZE mean?

 17    A.     FZE stood for Free Zone Enterprise.       Essentially, it was

 18    the word in the Middle East, or Dubai, meaning a limited

 19    company.    It means company.

 20    Q.     This is a fax from Adrian Cheesley to Mr. Amroussi at

 21    Soutlephan.

 22                Who was Mr. Cheesley?     Who is Mr. Cheesley?

 23    A.     Mr. Cheesley worked for EMI Music Arabia.       For a number of

 24    years, he was the finance director working for Fredrick

 25    Giaccado.     He later became himself managing director of EMI


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  1    Music Arabia.

  2    Q.      So he was the managing director at EMI Music Arabia for a

  3    period of time?

  4    A.      Yes, he was.

  5    Q.      When Mr. Cheesley would communicate, generally did you

  6    receive copies if it involved any kind of legal issue?

  7    A.      Yes, I did.

  8    Q.      And did you receive a copy of this fax at or around the

  9    time?

 10    A.      Yes, yes, I did.

 11    Q.      And what is this fax?    What is the purpose of this fax in

 12    question?

 13    A.      It's a fax letter from Mr. Cheesley to Madgi el-Amroussi

 14    asking for confirmation that Khosara Khosara was included in

 15    the catalog of music that we had acquired from Soutelphan.

 16    Q.      You were looking for specific confirmation?

 17    A.      Right.    We needed to know that Khosara Khosara was

 18    included in the catalog that we had acquired.

 19    Q.      You had exploited CDs with Khosara Khosara on it already,

 20    correct?

 21    A.      We had.    We had.

 22    Q.      Why did you want to get specific permission here?

 23    A.      Because we -- we were in discussions at that point with

 24    Universal over the sample claim, and we needed to be absolutely

 25    certain that Khosara Khosara was included in that catalog.


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                                 #:16382
  1    Q.     If you look back to Exhibit 207 to the list of -- I

  2    believe you said they were films or some sort of sound tracks?

  3    A.     Yeah.     I just need to pull that out.

  4    Q.     Pull it up.     You don't have to pull up the book out,

  5    Mr. Ancliff.       We can look at it on the screen.

  6                   Is Khosara Khosara listed specifically in any of

  7    those enumerations?

  8    A.     No.

  9    Q.     Is that why you were asking for some specific

 10    confirmation?

 11    A.     That was the concern.     We couldn't see it listed in the

 12    original license agreement.

 13    Q.     So at the end of 2000, you're talking with Soutelphan and

 14    trying to get confirmation Khosara is included, and you're

 15    talking with people in the states about the potential claim.

 16                   Are you communicating back and forth directly with

 17    Soutelphan during this time?

 18    A.     Either me or Adrian Cheesley, yes.

 19    Q.     Are you also communicating with, ultimately, Tim Mosley

 20    and Universal and Jay-Z during this time?

 21    A.     Yes.

 22    Q.     There's communications going back and forth?

 23    A.     Yes.

 24    Q.     Did you ever get confirmation from Soutelphan that Khosara

 25    Khosara was, in fact, part of the catalog that Soutelphan was


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  1    controlling?

  2    A.     I believe, yes.     I think we got confirmation they did

  3    confirm it was in the catalog.

  4    Q.     Let's take -- excuse me.

  5                  Why don't you pull it up, Mr. Ancliff, Exhibit 157.

  6                  THE CLERK:   It is in evidence.

  7                  MR. STEINBERG:   It is in evidence; then let's pull it

  8    up.

  9                  Thank you very much, Madam Clerk.

 10    Q.     The first page of this document, Mr. Ancliff, this is

 11    addressed to you; is that right?

 12    A.     Yes, it is.

 13    Q.     Spelling is somewhat incorrect?

 14    A.     Happens a lot.

 15    Q.     It says "from Payal"?

 16    A.     Yes.

 17    Q.     Who was -- or what is Payal?

 18    A.     Payal was a lady who worked in the office in Dubai.        I

 19    think she was Mr. Giaccado's assistant.

 20    Q.     So this was something that was forwarded to you from your

 21    Dubai office to your office; is that right?

 22    A.     That's correct.

 23    Q.     Can you tell from this document what the date is?        It says

 24    "15/"3 under "Payal."       I don't know if that helps you.

 25    A.     Then I would guess it was the 15th of March.


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  1    Q.     March -- in the mideast, they have the day first and then

  2    the month following; is that right?

  3    A.     That's right.

  4    Q.     And following this is two pages of Arabic writing.

  5                  Do you speak Arabic at all, Mr. Ancliff?

  6    A.     Sadly not.

  7    Q.     Do you read Arabic?

  8    A.     No.

  9    Q.     You able to -- or did anybody point out to you where, if

 10    at all, Khosara Khosara is identified on one of these

 11    Arabic-language documents?

 12    A.     Yes, I think they underlined it for me or drew a box

 13    around it or something.

 14    Q.     Look up on the screen, Mr. Ancliff.

 15                  Is that what you're referring to?

 16    A.     Yes.

 17    Q.     That's your understanding of what Khosara Khosara was?

 18    A.     I believe that says Khosara Khosara in Arabic, yes.

 19    Q.     Flip to the next page, Mr. Ancliff.

 20                  Are you familiar with the entity known as Sasiro?

 21    A.     Yes, I am.

 22    Q.     What is Sasiro?

 23    A.     Sasiro is an author's and publisher's association based in

 24    Cairo.

 25    Q.     Can you describe what this document is.


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  1    A.     It is a certificate.    It confirms that a number of

  2    compilations, which I believe to mean songs --

  3    Q.     If you look at where it says "Soutelphan Company" --

  4    A.     Yes.

  5    Q.     -- do you see that in the middle of the first paragraph,

  6    "Soutelphan Company"?

  7    A.     Yes.

  8    Q.     Is this an indication that Sasiro is holding out

  9    Soutelphan as the publisher?

 10    A.     They're essentially saying these songs are owned and

 11    published by Soutelphan, yes.

 12    Q.     And if you look at the -- ask you this question:       Did I --

 13    and I think you answered it before -- but did EMI Music Arabia

 14    have any rights to any of these compositions or sound

 15    recordings inside Egypt?

 16    A.     No.    Sasiro

 17    Q.     The territory was excluding Egypt?

 18    A.     Egypt was explicitly excluded.

 19    Q.     There's some language that has the following -- where it

 20    says, "No amendment or alteration shall be made to the text or

 21    to the melody therein, nor exception merger with any other

 22    product or extracted therefrom, except upon a prior written

 23    permission from the author or his nominee."

 24                  Are you familiar with that language?

 25    A.     Yes.


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  1    Q.     What did that language mean?

  2                MR. ROSS:    The document speaks for itself and no

  3    foundation.

  4                THE COURT:    The document does speak for itself, but I

  5    think he is -- he can testify as an attorney what he

  6    understands that --

  7                MR. STEINBERG:    Thank you, Your Honor.

  8                THE COURT:    -- to cover.

  9    BY MR. STEINBERG:

 10    Q.     Mr. Ancliff, what was your understanding of this language?

 11    A.     We understood that language to be a statement of the

 12    position in Egypt -- which is where Sasiro was based -- of the

 13    concept moral rights in Egypt.

 14    Q.     What was your understanding of what the concept of moral

 15    rights were in Egypt?

 16                MR. ROSS:    Calls for expert testimony, undisclosed

 17    expert.

 18                THE COURT:    He's not disclosed as an expert, but as

 19    an attorney I suppose he does have an understanding.

 20                MR. STEINBERG:    Just asking for this witness's

 21    understanding.

 22                MR. ROSS:    It's irrelevant, 403, as to what his

 23    understanding is.

 24                THE COURT:    Well, it may be helpful to the court.      So

 25     I'm going to let him testify.


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  1    BY MR. STEINBERG:

  2    Q.     Please proceed with explaining what your understanding and

  3    what EMI Music Arabia's understanding of what moral rights

  4    meant.

  5    A.     Our understanding was that in Egypt, there was a concept

  6    of moral rights.     In that country, if you make certain

  7    adaptations to an original work, then in Egypt you require the

  8    approval of the original composer.

  9    Q.     In Egypt -- strike that.    Let's move on.

 10                And did this language in this particular document

 11    that we've marked as Exhibit 157 cause you any concern in

 12    connection with your negotiations over Big Pimpin?

 13    A.     No, none whatsoever.

 14    Q.     Why hot?

 15    A.     Related to Egypt.   We didn't have the rights for Egypt; we

 16    weren't giving rights for Egypt.

 17    Q.     Thank you.

 18                I'd like to talk to you about, Mr. Ancliff, about

 19    your communications with Soutelphan during this time period.

 20                In addition to written communications with

 21    Soutelphan, did you also have various phone calls and meetings

 22    with anyone from Soutelphan?

 23    A.     From time to time, yes.

 24    Q.     And who else was involved in those calls and meetings?

 25    Was Mr. Cheesley involved?


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  1    A.     Mr. Cheesley and Mr. Giaccado.

  2    Q.     And what was the general topic of those discussions?

  3    A.     Often it would be about business performance, how we were

  4    doing with the catalog and how well it was selling and what

  5    additional rights we might acquire in the future, what new

  6    rights they were buying, acquiring, with a view to extending

  7    our relationship more broadly.

  8    Q.     Did you have discussions with Magdi el-Amroussi?

  9    A.     Briefly.     I recall one or two discussions with him.

 10    Q.     Okay.

 11                   And generally were there discussions with anyone else

 12    at Soutelphan?

 13    A.     Not that I recall at Soutelphan, no.

 14    Q.     Okay.

 15                   Did you make any efforts to keep Soutelphan apprized

 16    of the negotiations with Mr. Mosley later on about Big Pimpin?

 17    A.     Yes, we did.

 18    Q.     Did the subject of the scope of the license come up?

 19    A.     Yes.

 20    Q.     Was the concept of it being a buy-out, was that discussed?

 21    A.     Yes.

 22    Q.     Was the concept of it being a settlement of musical

 23    composition rights discussed?

 24    A.     Yes.

 25    Q.     Was there any discussion about any limitations on the


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  1    rights that you were going to be negotiating in terms of a

  2    settlement with Mr. Mosely?

  3    A.     I think the only discussion in that regard was the

  4    territory, and they didn't want us to grant any kind of

  5    settlement with respect to Egypt.

  6                MR. ROSS:    Calls for hearsay.     I would ask that the

  7    answer be stricken, Your Honor.

  8                THE COURT:     Well, I don't think it's hearsay, I think

  9    it's what the parties discussed.

 10    BY MR. STEINBERG:

 11    Q.     Did you discuss the fact that you would be receiving

 12    $100,000 from Mr. Mosley as a settlement payment?

 13    A.     Yes, we did.

 14    Q.     What was Soutelphan's reaction to that?

 15                MR. ROSS:    Calls for hearsay.

 16                THE COURT:     Again, it's what occurred.    Not offered

 17    for the truth of the matter asserted.         His understanding of

 18    what next occurred.

 19                THE WITNESS:     Soutelphan wanted to know when they

 20    would be getting their piece of that.

 21                MR. STEINBERG:     Okay.   Thank you.

 22                I'd like to show you Exhibit 351, please.

 23    Q.     Mr. Ancliff, I'm going to be showing you a number of

 24    documents -- letters, correspondence back and forth -- and

 25    we're going to be doing it chronologically, communications with


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  1    Soutelphan first and then communications with another person

  2    second.       So there will be, kind of, parallel chronological

  3    documents, but I want you to follow through with the

  4    correspondence in order.          So let's start with this first

  5    document.

  6                   Is this a document that you saw at around the time it

  7    was created on May 15th, 2001?

  8    A.     Yes.

  9    Q.     You're listed as one of the recipients?

 10    A.     Yes.

 11    Q.     And you identify Mr. Giaccado as the addressee as well?

 12    A.     That's right.

 13    Q.     It's sent on the letterhead of Fanoun Alam El Phan.

 14                   Do you see that?

 15    A.     Yes.

 16    Q.     What is Fanoun Alam El Phan?

 17    A.     Alam El Phan, I discussed previously, was another Egyptian

 18    music company.       Fanoun, I believe, was another Arabic music

 19    business or Arabic business that acquired Alam El Phan at some

 20    point and swept it under its umbrella.          So I believe they

 21    called themselves Fanoun Alam El Phan for a while.

 22                   MR. STEINBERG:     Like to move this into evidence.

 23                   MR. ROSS:   Objection, hearsay, relevance, 403.

 24                   MR. STEINBERG:     I think it's been established as a

 25    business record, Your Honor.


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  1                   THE COURT:    I think so.     I'm going to receive it.

  2                   MR. STEINBERG:    Plus he's a recipient as a cc.

  3                   THE COURT:    So I'm going to receive it.

  4                   MR. STEINBERG:    Thank you, Your Honor.

  5                   (Defense Exhibit 351 received in evidence.)

  6    BY MR. STEINBERG:

  7    Q.     Let's pull this document up.

  8                   Mr. Ancliff, can you please describe this document

  9    for us.     What is it?

 10    A.     It's a letter from a representative of Alam El Phan to

 11    Fredrick Giaccado chasing him for news on what was happening on

 12    the Khosara Khosara matter.

 13    Q.     We're now in May 2001, and Soutelphan is basically asking

 14    what's happening, where's our money?

 15    A.     Essentially, yes.

 16    Q.     Okay.

 17                   Did you -- let's move onto the next document, which

 18    is 352.

 19                   Mr. Cheesley[sic], 352 has not been in yet.

 20                   352, are you a recipient of this document,

 21    Mr. Cheesley?

 22    A.     352, yes, I was.

 23                   MR. STEINBERG:    Same day.     I'd like to move this into

 24    evidence.

 25                   MR. ROSS:    One moment, please, Your Honor.


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                                                                           ID
                                 #:16392
  1                   No objection.

  2                   THE COURT:   It will be received.

  3                   (Defense Exhibit 352 received in evidence.)

  4    BY MR. STEINBERG:

  5    Q.     "Just a short note to let you know that Chris is

  6    finalizing the deal.        Meanwhile, we need to receive the

  7    paperwork supporting that Fanoun Alam El Phan is now managing

  8    the Soutelphan Company."

  9                   This is written by Fred Giaccado?

 10    A.     Yes.

 11    Q.     Copied to you?

 12    A.     Yes.

 13    Q.     Is this you guys saying, Hey, we've been dealing with

 14    Soutelphan, but now you guys are sending us letterhead on Alam

 15    El Phan Fanoun, but we need confirmation when we cut your check

 16    it's the right entity; is that accurate?

 17    A.     That's right.

 18    Q.     Okay.

 19                   This is, again, May 17, 2001; is that right?

 20    A.     That's right.

 21    Q.     Okay.

 22                   And then, I'd like do -- take a look at Exhibit 353,

 23    please.

 24                   Are you a cc on this particular -- I should say that

 25    you are the addressee of this particular document on 353.


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  1    A.     353, I'm not the addressee, but I'm copied on it.

  2    Q.     So Adrian Cheesley is --

  3    A.     Sorry --

  4    Q.     -- you're copied on it.         You're right, Mr. Cheesley

  5    received it, and you're a copy.

  6                Your Honor, on the same basis, I'd like to offer this

  7    evidence into.

  8                MR. ROSS:      It's hearsay.

  9                May we approach on this, Your Honor?

 10                THE COURT:      Sure.

 11                Why don't we do this:         Ladies and gentlemen, you need

 12    a short break?     Okay.     Why don't we take a recess of eight, ten

 13    minutes, and then we'll take this up.

 14          (Proceedings held outside the presence of the jury:)

 15                THE COURT:      Okay.   Let me just put it up on the

 16    screen for a minute so I can see it.           It's going to be

 17    easier --

 18                MR. STEINBERG:      I can go through, and I will go

 19    through, if necessary, all the requirements to show that this

 20    is a business record, but he is a recipient of this document.

 21                THE COURT:      Okay.   Is it up on the screen?       I just

 22    want to see what I'm looking at because --

 23                MR. STEINBERG:      Yes, that's it, Your Honor.

 24                THE COURT:      This is 353?

 25                MR. STEINBERG:      Yes.


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                                 #:16394
  1               THE COURT:    Okay.

  2               And you're going to tell me that the declaration is

  3    hearsay.

  4               MR. ROSS:    Exactly.

  5               This is a big issue because their license agreement

  6    runs out -- we've seen now in the evidence -- in 2007.          So they

  7    have to demonstrate that they licensed the catalog from the

  8    right people, and these right people have to be people who

  9    acquired the catalog.

 10               What we're seeing now is an effort to prove who

 11    acquired the catalog without having anybody here who acquired

 12    the catalog.

 13               So this is -- if it's not for the truth of the

 14    matter, I don't know why it's relevant.

 15               THE COURT:    Okay.

 16               Mr. Steinberg, why don't you respond.

 17               MR. STEINBERG:    Your Honor, the document is just to

 18    show what EMI Music Arabia understood at the time, and what

 19    they understood at the time was that Fanoun Alam El Phan was

 20    taking over for Soutelphan.        Whether that was true or not is

 21    not even the issue, it's whether or not EMI Music Arabia

 22    believed that to be the case.        We will have evidence, Your

 23    Honor, that the whole extension issue is irrelevant because

 24    what we're ultimately getting at, Your Honor, is that

 25    Soutelphan signed off on the settlement agreement, and it


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  1    doesn't matter whether their underlying rights expired.          We

  2    furthermore have evidence they didn't expire because there was

  3    successor of entities; all the relationships extended.          So this

  4    is a red herring, Your Honor, it really is.

  5                THE COURT:    Well, go ahead, Mr. Ross.

  6                MR. ROSS:    If they're saying it's all irrelevant,

  7    then it's irrelevant, and if they're saying it's not for the

  8    truth of the matter, it's irrelevant.       We don't care whether

  9    someone told them they had the catalog.       They're just trying to

 10    get into evidence at this point that there is a successor, and

 11    they really own the rights.       That's what they can't do without

 12    the successor or someone who has that actual knowledge.

 13                THE COURT:    Okay.

 14                MR. STEINBERG:    Your Honor, I could go a number of

 15    different ways.    To start with Mr. Fahmy's testimony, Alam El

 16    Phan took over for Soutelphan, which as an admission kind of

 17    puts to bed that whole issue.       Second, Your Honor, the course

 18    of conduct is important here, especially since they're arguing

 19    willfulness, and if EMI Music Arabia wasn't willful in their

 20    conduct, certainly people down the line couldn't have been

 21    willful in their conduct.

 22                So I believe that this is entirely relevant; it's

 23    appropriate; it's not hearsay and should be admitted into

 24    evidence.

 25                THE COURT:    Well, I think whether -- I don't believe


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  1    it's being offered for the truth of the matter asserted.          If I

  2    understand it, it's being offered to show the bona fides of EMI

  3    Music Arabia's beliefs.

  4                 MR. ROSS:    They're not even a defendant.    As to who

  5    they've thought after this time period was owner of the catalog

  6    is irrelevant.     Whether or not they were willful is not an

  7    issue either; they're not a defendant.

  8                 THE COURT:    Well, that's really not an answer because

  9    there are a whole chain of people who rely upon what occurred

 10    here, and -- right now I'm going to admit it, subject to a

 11    motion to strike.

 12                 MR. ROSS:    Well, could we have it with a limiting

 13    instruction, then, that it's not for the truth of the matter?

 14                 THE COURT:    Yes, Mr. Steinberg.

 15                 MR. STEINBERG:    Your Honor, even if it is for the

 16    truth of the matter, it's -- the exception to the hearsay rule

 17    is the business records exception.

 18                 THE COURT:    Well, I understand, but I'm not sure that

 19    the declaration is a business record.

 20                 MR. STEINBERG:    I certainly can establish it was in a

 21    file, it was received in the file in the ordinary course.          So

 22    it's going to be a business record.

 23                 THE COURT:    Okay.

 24                 MR. ROSS:    Your Honor, that's not what a business

 25    record is.     A business record is something done regularly in


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  1    the course --

  2               THE COURT:    I understand.    Right now, I'm going to

  3    receive it to demonstrate what EMI Music Arabia was told at the

  4    time and not for the truth of the matter asserted.

  5               MR. ROSS:    Thank you, Your Honor.

  6               THE COURT:    These are all very interesting issues,

  7    but we -- I just have to hear more from experts because they

  8    don't really address what the plaintiff says is the problem

  9    here, namely, that you can't convey rights that you don't have;

 10    but I will stick with it and see where we're going.

 11               MR. ROSS:    Thank you, Your Honor.

 12               THE COURT:    Why don't we take a very short recess.

 13    We will return.

 14               THE CLERK:    Court's in recess.

 15                                 (Recess)

 16        (Proceedings held outside the presence of the jury:)

 17               THE CLERK:    Are we ready for the jurors?

 18               MR. ROSS:    I have one thing to say:      I would ask for

 19    the same limiting instruction with regard to 351.         I objected

 20    to it on hearsay at the time.      It was admitted.     But I would

 21    like the same instruction because it's saying from Alam El Phan

 22    we have the rights.

 23               THE COURT:    That is a business record.      I mean, the

 24    declaration you may have a point about.

 25               MR. ROSS:    Well, it's also hearsay, and I don't think


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  1    it is a business record because a business record is not

  2    correspondence, a business record is something done every day

  3    in the business so we know that it had really happened because

  4    that's what happens in the business.       It's not that I sent a

  5    letter and the contents of the letter are admissible in court.

  6                THE COURT:   I just think I disagree, but I will give

  7    the instruction on 353.

  8                       (Open Court - Jury Present)

  9                THE COURT:   Ladies and gentlemen, I have decided to

 10    receive Exhibit 353 with the following limitation:         It is not

 11    received for the truth of the matter asserted in the

 12    declaration but rather received to establish the state of mind

 13    of the EMI Music Arabia.

 14                MR. STEINBERG:     Thank you, Your Honor.

 15    Q.     Mr. Cheesley[sic], with regard to 353 -- first of all, who

 16    was it sent by?

 17    A.     It was sent by Ahmed Fahmy.

 18    Q.     And just to be clear, Mr. Ahmed Fahmy has no relation, as

 19    far as you know, to the plaintiff in this case?

 20    A.     As far as I know, no.

 21    Q.     This was dated May 23rd; is that right?

 22    A.     That's correct.

 23    Q.     If you look at the second page, Mr. Ancliff, is this the

 24    document that you were asking for confirming that Fanoun Alam

 25    El Phan had the ability to confirm that they had acquired the


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                                                                           ID
                                 #:16399
  1    rights from Soutelphan?

  2    A.     Yes, it is.

  3    Q.     Did you rely upon those -- that representation?

  4    A.     We did, yes.

  5    Q.     And did you ultimately make sure that Alam El Phan

  6    received the portion of the settlement payments?

  7    A.     Yes, we did.

  8    Q.     Okay.

  9                   I now will take you back -- like I've told you, I've

 10    taken you back and forth in time.       I took you through some of

 11    the communications with Soutelphan and their successor Alam El

 12    Phan Nanoun.       I would now like to go back to a different time

 13    period.

 14                   Do you know -- or did you ever know who David Braun

 15    was?

 16    A.     I didn't know who he was at the time.      He wrote to me at

 17    some point, I believe, in 2001.

 18    Q.     Let's take a look at Exhibit 106, please.      This is a

 19    March 2, 2001, letter from someone named David Braun to

 20    Mr. Robert H. Flax.

 21                   Do you see that?

 22    A.     Yes, I do.

 23    Q.     Who is Robert H. Flax?

 24    A.     He worked for a publishing company, music publishing

 25    company, in New York.       I forget what his role was, but he was


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                                                                           ID
                                 #:16400
  1    executive vice-president of that business.

  2    Q.     And were you communicating with EMI publishing in New York

  3    to assist you with the pursuit of your claims regarding Big

  4    Pimpin?

  5    A.     Yes.

  6    Q.     And was Mr. Flax involved in that?

  7    A.     He was, I believe, yes.

  8    Q.     You're not shown as a cc on this particular document, but

  9    did you get this in the ordinary course of your business?

 10    A.     Yes.

 11    Q.     Was this document part of the correspondence that you kept

 12    in your files?

 13    A.     Yes.    Bob sent it to me.

 14    Q.     Is this a document you retrieved from EMI Music Arabia's

 15    business records?

 16    A.     Yes, it is.

 17                  MR. STEINBERG:    I'd like to move this into evidence,

 18    Your Honor.

 19                  MR. ROSS:    No objection.

 20                  THE COURT:    All right.     It will be received.

 21                  (Defense Exhibit 106 received in evidence.)

 22                  MR. STEINBERG:    Okay.

 23    Q.     So you saw a copy of this in around March 2, 2001; is that

 24    right?

 25    A.     Sometime after that, yes.


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                                                                           ID
                                 #:16401
  1    Q.     And could you please see the first sentence -- let's

  2    highlight the first sentence for you and for the jury -- "EMI

  3    Music Arabia is listed as the publisher of a musical

  4    composition entitled Khosara Khosara, which appears on an EMI

  5    album entitled The Movie Collection featuring Abdul Halim

  6    Hafiz."

  7                   Do you see that?

  8    A.     I do.

  9    Q.     Is that one of the movie collections I showed you the CD

 10    from before?

 11    A.     It's the same one, yes.

 12    Q.     You received this letter out of the blue?       Had you heard

 13    of Mr. Braun at all before this --

 14    A.     No.

 15    Q.     When this came across your desk on or about March 2, 2001,

 16    what was your reaction?

 17    A.     It came out of the blue so we didn't know who he was

 18    representing.       It was complete news to us.    We've been dealing

 19    with Soutelphan El Phan to try and close this matter.         So I

 20    probably sighed, said, Here we go again.

 21    Q.     So this March 2, 2001, letter, and then let's turn to

 22    Exhibit 106.

 23                   And don't put it up on the screen, yet, please.

 24    A.     I think this is 106.

 25    Q.     I'm sorry.     Let's turn to Exhibit 317.


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                                                                           ID
                                 #:16402
  1                   Mr. Ancliff, this is a letter dated March 30, 2001,

  2    from someone named Barton Weiss to David Braun.

  3                   Do you know who Barton Weiss was?

  4    A.      Yes, he was in-house at the EMI Publishing in New York.

  5    Q.      Was Mr. Weiss assisting EMI Music Arabia with pursuing Big

  6    Pimpin claims?

  7    A.      Yes.

  8    Q.      This is a letter from Mr. Weiss to Mr. Braun; is that

  9    right?

 10    A.      That's correct.

 11    Q.      It attaches the document which has "Attention:       Ms. Payal"

 12    at the top.

 13                   Do you see that?

 14    A.      Yes.

 15    Q.      Was this a document that you saw at or around March 30,

 16    2001?

 17    A.      Yes.

 18    Q.      You were copied with communications that Mr. Weiss was

 19    sending and receiving in connection with the Big Pimpin claim;

 20    is that right?

 21    A.      Yes, that's right.

 22                   MR. STEINBERG:     I'd like to move this into evidence,

 23    Your Honor.

 24                   MR. ROSS:    No objection.

 25                   THE COURT:    Received.


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                                                                           ID
                                 #:16403
  1                   (Defense Exhibit 317 received in evidence.)

  2                   MR. STEINBERG:     Okay.

  3    Q.     We have this March 2 letter that Mr. Braun sends to Robert

  4    Flax, and then we have Barton Weiss sending a letter back to

  5    Mr. Braun, and what is he enclosing with this document?          Can

  6    you tell the jury.

  7    A.     He is enclosing the certificate that we discussed earlier

  8    from the Egyptian society, Sasiro.

  9    Q.     Do you see in the letter itself -- turn back to the letter

 10    itself -- it says, "EMI Music Arabia is the exclusive publisher

 11    of the composition for the world, excluding Egypt."

 12                    Was that accurate at the time?

 13    A.     Yes, it was.

 14    Q.     Let's take a look, please -- specifically talks about

 15    Khosara Khosara, right?

 16    A.     Yes.

 17    Q.     If you look at the fourth page in, there is a list of

 18    musical compositions.

 19                   Do you see that?

 20    A.     I do.

 21    Q.     Is Khosara Khosara specifically identified?

 22    A.     Yes, it is.

 23    Q.     I think it's 728; is that right?

 24    A.     That's correct.

 25    Q.     Let's turn to Exhibit 318, please.


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                                                                           ID
                                 #:16404
  1                  This is an April 5, 2001, letter from Mr. Braun to

  2    Barton Weiss.

  3                  Did you get a copy of this letter in or around

  4    April 5, 2001?

  5    A.     Yes, I did.

  6    Q.     I could establish more, but I'd like to offer it into

  7    evidence.

  8                  MR. ROSS:    No objection.

  9                  THE COURT:    It will be received.

 10                  (Defense Exhibit 318 received in evidence.)

 11                  MR. STEINBERG:     Thank you.

 12    Q.     Just to keep recapping the timeline for the March 2

 13    letter, the March 30th letter, now this April 5, 2001, first

 14    sentence of this letter says, "I'm responding to your March 30,

 15    2001, letter."

 16                  Do you see that?

 17    A.     Yes.

 18    Q.     I believe I asked you this:         You saw a copy of this at

 19    around the time, right?

 20    A.     Yes, I did.

 21    Q.     And what was your understanding of what Mr. Braun was

 22    saying here?

 23    A.     I think what Mr. Braun was asking for was personally to

 24    see the original document, which I assume meant the original

 25    document in Arabic, and then I think he was questioning why


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                                 #:16405
  1    that document refers to Soutelphan and not to EMI; therefore,

  2    how EMI came by the rights to this particular composition.

  3    Q.     So Mr. Braun is inquiring about Soutelphan -- EMI Music

  4    Arabia's rights and saying he wants more proof of something,

  5    and that's what he is asking for; is that right?

  6    A.     Correct.

  7    Q.     Let's take a look at Exhibit 319.

  8                This is an April 18, 2001, letter from Barton Weiss

  9    to David Braun.      Just for timeline purposes, Mr. Ancliff, we're

 10    now in April 2001.

 11                During this time period, are you pretty knee deep in

 12    negotiations to resolve the issue regarding Big Pimpin?

 13    A.     We are.    I think by that point I think we were close to

 14    finalizing it.

 15                MR. STEINBERG:    Let me offer this into evidence.

 16                Is there any objection?

 17                MR. ROSS:    One moment, please, Your Honor.

 18                No objection.

 19                THE COURT:    It will be received.

 20                (Defense Exhibit 319 received in evidence.)

 21    BY MR. STEINBERG:

 22    Q.     Mr. Ancliff, second paragraph of this letter says, "This

 23    matter is now being handled by Chris Ancliff of our U.K.

 24    Office," and you're copied with this, right?

 25    A.     That's right.


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  1    Q.     So is this Mr. Weiss telling Mr. Braun, Deal with Ancliff?

  2    A.     Yes.

  3    Q.     You're done with me?

  4    A.     Yes.

  5    Q.     Basically saying that?

  6    A.     Yes, passing it back to me.

  7    Q.     It's also attaching a -- what he calls a copyright

  8    certificate.

  9                   Do you see that?

 10    A.     Yes, I do.

 11    Q.     The third page of this document, again, has that kind of

 12    boxed Arabic phrase.

 13    A.     Yes.

 14    Q.     And that's -- I believe you testified that's what you

 15    understood to be the reference to Khosara Khosara?

 16    A.     Yes.

 17    Q.     Okay.

 18                   So now we have this April 18 letter from Mr. Weiss to

 19    Mr. Braun telling him to contact you, and I'd like to turn to

 20    Exhibit 320, please.

 21                   I'll just go right to directly asking to offer this

 22    into evidence, if there's any objection.

 23                   MR. ROSS:   What was the number?     I'm sorry?

 24                   MR. STEINBERG:     320.   This is a letter from Mr. Braun

 25    to Mr. Ancliff dated April 18.


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  1                  MR. ROSS:    One moment, please, Your Honor.

  2                  THE COURT:    Yes.

  3                  MR. ROSS:    No objection.

  4                  THE COURT:    All right.     320 will be received.

  5                  (Defense Exhibit 320 received in evidence.)

  6    BY MR. STEINBERG:

  7    Q.     So with regard to Exhibit 319, which was the exhibit

  8    before, you've got Mr. Weiss telling Mr. Braun on April 18, Go

  9    contact Mr. Ancliff, right?

 10    A.     Yes.

 11    Q.     He doesn't waste any time.        Immediately he sends a letter

 12    the same day to you explaining who he is and what the situation

 13    is to you directly, right?

 14    A.     Yes.

 15    Q.     If you look at the first sentence, Mr. Braun says, "We

 16    represent" -- excuse me -- "We represent the representatives of

 17    the heirs of Beligh Hamdy, the composer of the above

 18    composition."

 19                  Do you see that?

 20    A.     Yes, I do.

 21    Q.     And Mr. Braun is communicating to you that they're trying

 22    to find out whether you have the rights to do what he believes

 23    you're doing; is that right?

 24    A.     That's correct.

 25    Q.     And he's also referencing a record company called Arc


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  1    Music.

  2                  Do you see that?

  3    A.     Yes.

  4    Q.     What was Arc Music at the time?

  5    A.     Arc Music was a company in England and exploited sound

  6    recordings.

  7    Q.     You mentioned earlier that at one point you weren't sure

  8    whether EMI Music Arabia had the rights to the sound recording

  9    as well as the musical composition underlying the sound

 10    recording.

 11                  Did there come a time at one point where you

 12    concluded that the sound recording that was in Big Pimpin was

 13    not, in fact, owned by EMI Music Arabia?

 14    A.     Yes, we did.    We sent it to be tested by a musicologist.

 15    Q.     And the conclusion ultimately was that that wasn't the

 16    specific recording you guys had.

 17    A.     It was not the sound recording featured on the CD of the

 18    film sound track that we own.

 19    Q.     Did you ever find out who actually did own that particular

 20    sound recording?

 21    A.     Yes, it was Arc Music.

 22    Q.     I'd like you to take a look at Exhibit 321, please.        This

 23    is a letter from -- I'll wait for you, Mr. Ancliff.

 24                  So we have a March 2 letter, a March 30th letter,

 25    April 15 letter, two letters on April 18th, and you immediately


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  1    responded on April 19th to Mr. Braun's April 19th letter that

  2    next day, right?       That was the day before you got the letter?

  3    A.     Yes.

  4    Q.     Then you responded on April 19th.

  5                   I'd like to offer this into evidence, please.

  6                   MR. ROSS:    No objection.

  7                   THE COURT:    All right.     It will be received.

  8                   (Defense Exhibit 319 received in evidence.)

  9                   MR. STEINBERG:    Let's pull that document up.

 10    Q.     This is a letter that you wrote, correct?

 11    A.     Yes.

 12    Q.     It says, "I refer you to the fax of April 18."

 13                   That's the exhibit we just looked at, right?

 14    A.     That's correct.

 15    Q.     What are you telling Mr. Braun here?

 16    A.     I'm telling him that we are satisfied that we had the

 17    necessary rights to that composition, Khosara Khosara.

 18    Q.     And as of April 19, the EMI Music Arabia settlement had

 19    not been finalized, correct?

 20    A.     No, it hadn't at that point, no.

 21    Q.     In fact, at this point, nobody had fully committed on both

 22    sides to that settlement, correct?

 23    A.     Not at that point, no.

 24    Q.     Okay.

 25                   Mr. Ancliff, after April 19, 2001, did you ever hear


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  1    from Mr. Braun again?

  2    A.     No, I didn't.

  3    Q.     No more letters?

  4    A.     Nothing.

  5    Q.     No phone calls?

  6    A.     Nothing.

  7    Q.     No faxes?

  8    A.     Nope.

  9    Q.     Never filed any kind of claim in Egypt?      Never served you

 10    with any papers?

 11    A.     No, not.

 12    Q.     As far as you were aware -- as far as EMI Music Arabia was

 13    aware, did Mr. Braun go away?

 14    A.     Yes.     We never heard from him again.

 15    Q.     So whatever Mr. Braun might have been asserting or

 16    inquiring or investigating, EMI Music Arabia was satisfied that

 17    he was no longer going to be an issue; is that correct?

 18    A.     I assumed he was satisfied with the answers I gave him --

 19    Q.     Thank you.

 20                   Had EMI Music Arabia known at the time before the

 21    settlement agreement ultimately was finalized, what would EMI

 22    Music Arabia have done if they had known that Mr. Fahmy was, in

 23    fact, pursuing a claim that he owned the musical composition in

 24    Big Pimpin --

 25                   MR. ROSS:   Calls for speculation.


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  1    BY MR. STEINBERG:

  2    Q.     -- as to Khosara Khosara?

  3                THE COURT:     Rephrase.

  4                MR. STEINBERG:     Thank you, Your Honor.     That was not

  5    particularly well said.

  6    Q.     At the time that Mr. Braun went away, if instead of going

  7    away, he pursued those claims and he made you aware that they

  8    did not intend to go away, what would EMI Music Arabia have

  9    done, if anything?

 10                MR. ROSS:    Calls for speculation.

 11                MR. STEINBERG:     Your Honor, he was general counsel at

 12    the time.    I think he can speak as to what, as general counsel,

 13    he would have done.

 14                THE COURT:     I'm going to let him answer.

 15                THE WITNESS:     We would have investigated.     We would

 16    have had to investigate at that point.       Somebody had cast doubt

 17    on our rights so we would have had to probably suspend

 18    negotiations on the settlement agreement and investigate it.

 19    BY MR. STEINBERG:

 20    Q.     Would you have disclosed it to Mr. Mosley or whoever you

 21    were negotiating with?

 22    A.     I think we would probably have had to have done that

 23    because they would have said, Why is it not getting done?          Why

 24    is it not being signed?       So we had to say, There is a hitch.

 25    Q.     Again, April 2001, I'd like you to take a look at


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  1    Exhibit 208, please.      I believe this has been marked and

  2    accepted as evidence.

  3                 THE CLERK:   208?

  4                 MR. STEINBERG:      Yes.

  5                 THE CLERK:   That is correct.

  6                 MR. STEINBERG:      Thank you.

  7    Q.     Mr. Ancliff, this is the agreement with Mr. Mosley and EMI

  8    Music Arabia; is that right?

  9    A.     That's correct.

 10    Q.     This is the agreement that you helped him negotiate,

 11    correct?

 12    A.     That's correct.

 13    Q.     Although you didn't sign it, this was signed by -- it

 14    looks like to be a Mr. Giaccado;         Is that right?

 15    A.     I'd have to look at the signature first.

 16                 Yes, that's Fredrick Giaccado's signature.

 17    Q.     I'm going to ask you about certain provisions in this

 18    agreement.     Let's start with the date that's indicated under

 19    the title, "As of March 30, 2001."

 20                  do you see that?

 21    A.     Yes, I do.

 22    Q.     What is the significance, if any, of that date?

 23    A.     I think it would have been important for us to fill out

 24    the agreement to be dated as of the 30th of March, 2001,

 25    because that was the day before the end of our financial year.


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  1    Q.     So that had to do with fiscal accounting issues?

  2    A.     Yes.     We wanted that to be -- the income from that

  3    settlement to be recognized in our financial year that ended

  4    the following day.

  5    Q.     And the parties didn't sign it until after March 30th?

  6    A.     No.     I don't think we actually signed it until July, I

  7    think.

  8    Q.     Your best recollection is that the parties didn't finalize

  9    this deal until sometime in July; is that right?

 10    A.     That's correct.

 11    Q.     Okay.

 12                   Can you, just generally, describe what this document

 13    is.

 14    A.     It's a settlement agreement, as it says.      It's an

 15    agreement on our part, EMI Music Arabia's part, not to bring

 16    legal action against Tim Mosley, Timbaland, for infringing our

 17    rights.

 18    Q.     Let's talk a little bit about some of the terms.        Maybe we

 19    can start with paragraph four, please, which is on page five of

 20    your exhibit.       Paragraph four says, "EMI represents and

 21    warrants that it is the sole exclusive licensee under copyright

 22    worldwide, except for Egypt, in and to the Hamdy composition."

 23                   Is that an accurate statement?

 24    A.     That was an accurate statement, yes.

 25    Q.     And that "EMI has not assigned or transferred or purported


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  1    to sign or transfer to any person or entity any interest or

  2    claim in its rights in and to the Hamdy composition and that no

  3    person, firm or corporation not a party to this agreement has

  4    any lien, claim, or interest in EMI's rights in and to the

  5    Hamdy composition."

  6                  And that also was accurate, correct?

  7    A.     It was, yes.

  8    Q.     And the Hamdy composition is defined somewhere else.

  9    Let's look at the first page, Mr. Ancliff, where the Hamdy

 10    composition is defined as the allegedly unauthorized use of

 11    portions of a composition entitled Khosara Khosara, composed by

 12    Beligh Hamdy.

 13                  Do you see that?

 14    A.     Yes.

 15    Q.     So this was an agreement that was pertaining to the

 16    purported sampling of the musical composition contained in Big

 17    Pimpin; is that right?

 18    A.     That's correct.

 19    Q.     Let's also take a look at the paragraph directly above

 20    paragraph four.       Go back to the page that we were on, if you

 21    don't mind.

 22                  Midway through the first block paragraph, there's a

 23    sentence that says -- starts with "EMI further."

 24                  Do you see that?

 25    A.     Yes, I do.


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  1    Q.     "EMI further acknowledges and agrees that upon the

  2    execution of this agreement, releasees" -- and that is also a

  3    defined term to include Mosley, correct?

  4    A.     Yes.

  5    Q.     -- "shall have the right to exploit the Mosley

  6    composition," which is Big Pimpin, right?

  7    A.     Nods.

  8    Q.     "And/or the Mosley copyright interest in perpetuity."

  9                    What does "in perpetuity" mean?

 10    A.     We discussed it earlier.     It means for, effectively, for

 11    ever, but until the end of term of copyright.

 12    Q.     In your discussions with Soutelphan, did Soutelphan

 13    approve of the concept of granting this right in perpetuity?

 14    A.     Yes, they did.

 15    Q.     It says, "Throughout the world, excluding Egypt."

 16                   And why was Egypt excluded as part of this agreement?

 17    A.     We didn't have the rights for Egypt.       We couldn't grant

 18    rights we didn't have.

 19    Q.     It says, "free and clear of any claim by the releasors

 20    that such exploitation in any way violates any of EMI's

 21    copyright interest in the composition."

 22                   Do you see that?

 23    A.     Yes.

 24    Q.     What is EMI Music Arabia agreeing to here?

 25    A.     It's saying, We'll let you use the sample of the


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  1    composition in a new recording, and we won't sue you for doing

  2    that.     We're allowing you to use it.

  3    Q.      And then what was the financial term of this settlement

  4    agreement?

  5                    Do you recall?

  6    A.      What was the?

  7    Q.      The financial term.

  8    A.      They would pay us a one-off payment of $100,000.

  9    Q.      If you look at page two of your document, Mr. Ancliff, it

 10    says, "No later than March 31, 2001, Mosley shall pay to EMI

 11    the amount of $100,000."

 12                    Do you see that?

 13    A.      Yes.

 14    Q.      That didn't occur by March 31, did it?

 15    A.      No.

 16    Q.      Again, that's for fiscal purposes, right?

 17    A.      Right.     We wanted to recognize the money as having been

 18    received in our fiscal year.

 19    Q.      Okay.

 20                    There's also a reference in paragraph one to --

 21    moving down about two-thirds of the paragraph -- quote,

 22    so-called "moral rights," end quote -- droit moral -- my French

 23    teacher would be happy about that that -- "that EMI and any of

 24    EMI domestic or foreign affiliated countries, et cetera, may

 25    have."


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  1                   What does that mean?

  2    A.     It's essentially saying that EMI Music Arabia and no other

  3    EMI company would assert moral rights, would claim moral rights

  4    over that composition.

  5    Q.     Did that have anything whatsoever to do with any potential

  6    moral rights that Mr. Hamdy or any of his heirs might have in

  7    Egypt?

  8    A.     No, this was about EMI's moral right; it wasn't about the

  9    composer's moral rights.

 10    Q.     And Egypt wasn't included in the territory; is that right?

 11    A.     No.    That's right.

 12    Q.     And in the discussions that took place with Soutelphan and

 13    their successors, the $100,000 perpetual buy-out was discussed,

 14    right?

 15    A.     Yes.

 16    Q.     And Soutelphan signed off on that, right?

 17    A.     They did.

 18    Q.     Mr. Ancliff, is this document a license agreement?

 19    A.     Not as such.    It's a settlement agreement.     It has the

 20    effect of a license agreement.

 21    Q.     But it's not a --

 22    A.     It's not a license agreement, it's a settlement.       It's an

 23    agreement not to sue somebody.        It's not per se a license

 24    agreement.

 25    Q.     And then it grants certain rights in EMI Music Arabia's


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  1    compositions; is that right?

  2    A.      Yes.

  3    Q.      How does a typical license agreement work?

  4    A.      Typically, a license agreement has slightly different

  5    language.      It uses the word "license."   So you'd be granting

  6    rights to somebody to do something in your work, your

  7    composition.      Quite often license agreements require a payment

  8    up front and then ongoing royalty payments as the composition

  9    is exploited.      Not always, but sometimes royalties would get

 10    paid.     In this particular case, there were no royalties

 11    payable.

 12    Q.      So a license agreement usually entails an continuing

 13    relation?

 14    A.      Yes, it's an ongoing relationship between the two parties.

 15    Q.      After this agreement was signed, was there any continuing

 16    relationship between EMI Music Arabia and Mr. Mosley?

 17    A.      No, it wasn't ongoing.   We were done at that point.      They

 18    paid, and we were done.

 19    Q.      Now, again, this was finalized sometime in July 2001; is

 20    that right?

 21    A.      That's correct.

 22    Q.      The last communication you ever had was in -- with

 23    Mr. Braun other behalf of the heirs of Beligh Hamdy, was in

 24    April 2001; is that right?

 25    A.      That's correct.


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  1    Q.     During that entire time period April and July, there were

  2    no further communications?

  3    A.     None.

  4    Q.     And had there been any communications, what would have

  5    happened to this settlement agreement?          How would it have been

  6    different, if at all?

  7                   MR. ROSS:    Calls for speculation.

  8                   MR. STEINBERG:     Your Honor, again this is --

  9                   THE COURT:     I think it's based on his knowledge and

 10    custom and practice.

 11                   He may answer.

 12                   THE WITNESS:     So do you mind repeating the question.

 13                   MR. STEINBERG:     Yes.

 14    Q.     In July 2001, when this document was getting finalized and

 15    the agreement was getting finalized, had Mr. Braun not gone

 16    away, could EMI Music Arabia have made the warranties and

 17    representations that we went over?

 18    A.     No, because at that point, they would probably have been

 19    untrue -- they might have been untrue.          We didn't know.   We

 20    would have had to investigate it before we could give these

 21    warranties.

 22    Q.     And you believe, by virtue of Mr. Braun's communications

 23    and ultimate silence, that that was not going to be an issue

 24    anymore, correct?

 25    A.     We thought it had gone away, yes.


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  1    Q.     Is there any doubt in your mind whatsoever that EMI Music

  2    Arabia had the rights to grant the use license as contained in

  3    this document to Tim Mosley for use of the Khosara Khosara

  4    musical composition in Big Pimpin?

  5    A.     No doubts at all.

  6                MR. STEINBERG:     No further questions, Your Honor.

  7                THE COURT:     Okay.   I guess we can take our noon break

  8    now, or do you want to start your cross?

  9                MR. ROSS:    I think it makes sense to take the break

 10    now; my cross probably going to be half an hour.

 11                THE COURT:     Okay.

 12                Ladies and gentlemen, why don't we plan to take our

 13    noon recess.    I have two matters over the noon hour so I'm

 14    going to ask you to return at 1:15, but it may be 1:30 before

 15    we get started.     Thank you.

 16          (Proceedings held outside the presence of the jury:)

 17                THE COURT:     Have you distributed the note?

 18                THE CLERK:     Not yet.

 19                THE COURT:     Okay.   Don't worry, but they want a list

 20    of names of witnesses and individuals and companies referenced

 21    each day of the trial prior to the start of the trial tomorrow

 22    morning.

 23                MR. ROSS:    We have it right here, and we exchanged it

 24    with the other side.       They object to it on the grounds that

 25    it's incomplete.     Maybe we can just add something.


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  1                 THE COURT:    Why don't you just work on it because,

  2    obviously, it's going to help them because there are a lot of

  3    names and companies and everything else.

  4                 MS. LEPERA:    Happy to do that.

  5                 MR. STEINBERG:    Your Honor, I just wanted to find

  6    out:   Are we going to be arguing jury instructions this

  7    afternoon?     Did you decide that?

  8                 THE COURT:    No, we aren't, because two things:     One,

  9    the jury can't deliberate on Monday based on what was disclosed

 10    yesterday.     So my guess is Tuesday is the day they will

 11    deliberate.     I think we've got to spend time somewhere in there

 12    on what -- first question:       What are we asking the jury to do,

 13    because that will inform the instructions in large measure.          So

 14    I think we're going to have to take that up tomorrow and just

 15    proceed with evidence today and see where we get because I

 16    don't see that we're going to conclude today and have some

 17    vacant time or free time.

 18                 MR. STEINBERG:    Thank you, Your Honor.

 19                 MS. LEPERA:    Thank, Your Honor.

 20

 21                    (Proceedings concluded 12:10 p.m.)

 22                 (Laura Elias reported the P.M. Session)

 23                                  - - - - -

 24

 25


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  1                          C E R T I F I C A T E

  2

  3               I hereby certify that pursuant to Section 753,

  4    Title 18, United States Code, the foregoing is a true and

  5    correct transcript of the stenographically reported proceedings

  6    held in the above-entitled matter and that the transcript page

  7    format is in conformance with the regulations of the Judicial

  8    Conference of the United States.

  9

 10      Date:   October 15, 2015

 11

 12                         /S/______________________

 13                                 Deborah K. Gackle
                                       CSR No. 7106
 14

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